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 1
     John A. Cullis (IL # 6273415, pro hac vice)
 2   Lawrence E. James (IL # 6289823, pro hac vice)
     BARNES & THORNBURG, LLP
 3   One N. Wacker Drive, Suite 4400
 4   Chicago, IL 60606-2833
     Telephone: (312) 214-4572
 5   Email: jcullis@btlaw.com
 6           Lee.James@btlaw.com

 7 Jennifer J. Axel (AZ #023883)
   Maria F. Hubbard (AZ #033161)
 8 MURPHY CORDIER CASALE AXEL, PLC
               nd
 9 4647 N. 32 Street, Suite 150
   Phoenix, Arizona 85018
10 Telephone: (602) 274-9000
11 Fax: (602) 795-5896
   Email: jaxel@mccalaw.com
12          maria@mccalaw.com
13 Attorneys for Plaintiff U-Haul International, Inc.
14
15                        IN THE UNITED STATES DISTRICT COURT
16                             FOR THE DISTRICT OF ARIZONA
17
     U-Haul International,     Inc.,   a   Nevada       Case No: 2:24-cv-03160-MTL
18
     corporation,
19                                                    AMENDED COMPLAINT
            Plaintiff,
20
21   v.

22   Public Storage Operating Company, a
     Maryland foreign business trust,
23
24          Defendant.
25
26           Plaintiff, U-Haul International, Inc. (“U-Haul”), pursuant to the Federal Declaratory
27 Judgment Statute, 28 U.S.C. § 2201, complains against Defendant, Public Storage Operating
28 Company (“Public Storage” or “Defendant”), as follows:
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 1                                     NATURE OF ACTION
 2           1.     U-Haul brings this action to protect its right to continue its longstanding use of
 3 the color orange and the word “orange” in connection with the promotion and marketing of its
 4 self-moving and storage business.
 5           2.     Defendant has engaged in a multi-faceted and corrupt campaign to wrongfully
 6 appropriate rights in the use of the color and word “orange” in connection with self-storage
 7 services and to assert such rights against U-Haul, its sister companies, its dealers and licensees
 8 (the “U-Haul Businesses”). This campaign includes Defendant’s filing of fraudulently
 9 manufactured evidence with the United States Patent and Trademark Office (“USPTO”) in an
10 effort to keep trademark registrations alive for marks that Defendant is not using, filing false
11 statements with the USPTO claiming substantially exclusive use of the color orange in various
12 forms of purported trade dress, and also making baseless demands that others, including U-
13 Haul cease using the color and/or the term “orange” in connection with their businesses, which
14 has necessitated this action.
15           3.     For 79 years, U-Haul has continuously and prominently featured the color
16 orange in connection with its truck, trailer, and towing equipment rental including tow dollies,
17 and auto transports and self-storage services (“Self-Moving and Storage Services”), and
18 through extensive sales and promotion of those Self-Moving and Storage Services, has
19 developed strong common law and registered trade dress rights in the color orange relating to
20 its Self-Moving and Storage Services, embodying invaluable goodwill. U-Haul’s Self-Moving
21 and Storage solutions including truck, trailer and towing rental equipment, rental of self-
22 storage facilities, rental of portable moving containers, as well as sales of vehicle cargo
23 equipment, towing hitches and towing wiring, boxes and packing supplies. Self-Moving and
24 Storage Services are inextricably intertwined in the minds of consumers. Self-Moving and
25 Storage Services address the same basic need for customers: how they deal with their
26 belongings in transition. Self-moving is “they have their things here; they want them there”
27 while self-storage is “they have their things now; they want them later”. In short, U-Haul has
28 been providing solutions for Self-Moving and Storage needs for 79 years.
                                                    2
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 1          4.      U-Haul originally decided to paint the trailers orange because it was a color
 2 that was readily identifiable, looked clean, bright and attractive, and formed moving billboards
 3 to promote U-Haul services at service stations throughout a city.
 4          5.      Orange U-Haul self-move truck, trailer, and towing equipment were always
 5 used not only for self-moving, but to store customer’s goods as well. As part of its provision
 6 of Self-Moving and Storage services, U-Haul has also prominently used the color orange for
 7 at least 50 years in connection with the self-storage services it provided at its self-storage
 8 facilities and has expended substantial resources utilizing the color orange to promote those
 9 services. U-Haul currently has over 1 million orange storage doors at its facilities.
10           6.     Despite U-Haul’s longstanding nationwide use of the color orange in
11 connection with its Self-Moving and Storage Services, as well as extensive nationwide third-
12 party use of the color orange in connection with self-storage services, Defendant has now
13 demanded that the U-Haul Businesses cease use of the color orange on a website operated by
14 U-Haul relating to self-storage and cease its use of the term “orange” in connection with its
15 Self-Moving and Storage business. This demand is part of an improper scheme by Defendant
16 to wrongfully assimilate and steal the orange trade dress of U-Haul Businesses and third-
17 parties and to monopolize the color orange and term “orange” within the self-storage industry
18 and foreclose others from using the color orange and/or the term “orange” in connection with
19 self-storage services.
20           7.     Defendant is so determined to monopolize the color and/or the term “orange”
21 that it has fabricated use of trademarks containing the term “orange” and knowingly filed
22 fraudulent evidence of trademark use with the USPTO to maintain registrations for the
23 trademarks containing the term “orange” that Defendant has asserted against U-Haul and likely
24 many other parties in the self-storage space.
25           8.     Defendant’s demands are not only unjustified and improper given the
26 longstanding and extensive use of the color orange by the U-Haul Businesses as well as the
27 extensive use of the color by hundreds of independent self-storage providers, but they also
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                                                   3
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 1 create a substantial and immediate controversy between Defendant and U-Haul that threatens
 2 to disrupt U-Haul’s business.
 3           9.     Accordingly, U-Haul asks this Court for a declaration that U-Haul’s use of the
 4 color orange and the term “orange” does not violate Defendant’s alleged rights, and, in
 5 particular, does not constitute trademark infringement, trademark dilution, unfair competition,
 6 or a violation of the Anticybersquatting Consumer Protection Act with respect to any alleged
 7 rights of Defendant. In addition, U-Haul asks this Court to invalidate certain trademark
 8 registrations asserted by Defendant on the basis that Defendant perpetrated a fraud upon the
 9 USPTO by filing evidence it intentionally fabricated in an effort to maintain such trademark
10 registrations and/or on the basis of non-use and abandonment.
11                                         THE PARTIES
12           10.    U-Haul is a corporation organized and existing under the laws of the State of
13 Nevada having a principal place of business at 2727 North Central Avenue, Phoenix, Arizona
14 85004.
15           11.    Defendant is a publicly traded real estate investment trust organized and
16 existing under the laws of the State of Maryland having a principal place of business at 701
17 Western Avenue, Glendale, California 91201.
18           12.    Defendant is registered to transact business in Arizona and, upon information
19 and belief, regularly transacts business in Arizona, including within this District.
20                                 JURISDICTION AND VENUE
21           13.    This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331,
22 1338(a), and 1338(b). This Court also has jurisdiction pursuant to the Lanham Act, 15 U.S.C.
23 § 1121, and federal supplemental jurisdiction under 28 U.S.C. § 1367.
24           14.    Venue is proper pursuant to 28 U.S.C. § 1391(b) in that U-Haul resides in and
25 is doing business in this District, a substantial part of the events giving rise to this action
26 occurred in this District, and Defendant is subject to jurisdiction in this District. Defendant
27 sent its demand to U-Haul in this District demanding that U-Haul cease activities that U-Haul
28 undertakes in this District. U-Haul is located in Phoenix, Arizona, within the jurisdiction of
                                                   4
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 1 this Court. Defendant’s actions have caused and will continue to cause injury and threatened
 2 harm to U-Haul in this District. Thus, the consequences of Defendant’s actions have a direct
 3 impact in Arizona and within this District, thereby producing effects in and directly
 4 implicating this District and Arizona.
 5                      U-HAUL AND ITS ORANGE MARKS AND TRADE DRESS
 6            15.    U-Haul is the leading provider of Self-Moving and Storage Services in the
 7 United States. Throughout its long history, U-Haul has developed and maintained an
 8 exceptional national reputation for its Self-Moving and Storage Services.
 9             U-Haul’s Use of and Service Mark Rights to the Color Orange in Connection
10                         With its Self-Moving and Storage Services

11            16.    Since 1945, U-Haul has prominently used the color orange as an eye-catching

12 identifier of Self-Moving and Storage business, specifically its offering of do-it-yourself
13 trucks, trailers, and towing equipment including tow dollies, and auto transports for rent.
14            17.    Since its earliest inception, U-Haul has prominently and consistently displayed

15 the color orange directly on the trailers and vehicles it offers for rent, on its rental facilities in
16 all 50 states, and in nationwide advertising and promotional materials for its Self-Moving and
17 Storage Services, including from retail locations within this judicial district. Here are a few
18 examples showing early looks of U-Haul trailers:
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 8           18.     U-Haul promotes its Self-Moving and Storage Services using the color orange
 9 by prominently featuring the color on roadside and building signage. Examples of U-Haul’s
10 use of the color orange in promoting its Self-Moving and Storage Services are pictured below
11 and in Exhibit A attached hereto:
12
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             19.     U-Haul also heavily promotes its Self-Moving and Storage Services via the
25
     Internet, including on its website accessible at www.uhaul.com and the U-Haul app, which U-
26
     Haul’s customers use to find U-Haul’s rental facilities located in all 50 states and make rental
27
     reservations as shown below:
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                                                    6
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             20.    In addition, the packet U-Haul provides its customers when they rent a truck,
23
     trailer, or towing equipment, which includes rental information and a move-in guide
24
     prominently displays the color orange as shown below:
25
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27
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                                                  7
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16          21.    Notably, the vehicles and trailers U-Haul rents, examples of which are
17 pictured below, prominently and consistently feature the color orange, and serve as thousands
18 of rolling billboards all across America promoting U-Haul Self-Moving and Storage Services:
19
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              22.    In addition, as shown below and in Exhibit A attached hereto, U-Haul’s rental
11
     facilities, which are located in all 50 states, prominently feature the color orange both on the
12
     exterior of the facilities and on in-store displays, and have done so for several decades, thereby
13
     further developing and creating an association between the color orange and U-Haul Self-
14
     Moving and Storage Services:
15
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              23.   In addition, the over 21,000 independent businesses that are dealers of U-Haul
22
     products and services -- including over 5000 independent self-storage facilities – are licensed
23
     to use, among other things, U-Haul’s orange trademarks, orange services marks and orange
24
     trade dress.
25
              24.   U-Haul has invested substantial resources developing, advertising, promoting
26
     and marketing its Self-Moving and Storage Services under the color orange in connection with
27
     its trade dress and various trademarks throughout the United States and establishing its
28
                                                   10
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 1 Services in the minds of consumers as high-quality services offered by U-Haul. As a result,
 2 and in addition to its registered rights described below, U-Haul enjoys extremely strong
 3 common law trade dress rights in its trademarks and trade dress featuring the color orange
 4 relating to its Self-Moving and Storage Services, embodying invaluable goodwill.
 5           25.    In addition to its extensive common law trademarks and trade dress rights
 6 featuring the color orange relating to its Self-Moving and Storage Services, U-Haul owns the
 7 following long-standing federal registrations for trade dress and trademarks that incorporate
 8 the color orange reciting vehicle rental and related services:
 9
                   Mark                     Ser. /       Filing / Reg. First Use   Goods and
10
                                           Reg. No.          Date          in        Services
11                                                                    Commerce
                                           73096387     Aug. 12, 1976   Jun. 15, Class 39:
12                                          1075214     Oct. 11, 1977    1946    rental of
                                                                                 automobile
13                                                                               freight trailers
14
15
     The mark is lined for the colors
16   orange and aluminum
17
18
19
20
                                           73103035     Oct. 13, 1976     Sep. 14,   Class 39: truck
21                                          1094740     Jun. 27, 1978      1974      and automobile
                                                                                     trailer rentals
22
                                                                                     and warehouse
23                                                                                   storage
                                                                                     services
24
     The drawing is lined for the colors
25   blue and orange
26
27
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 1                  Mark                      Ser. /       Filing / Reg.    First Use      Goods and
                                             Reg. No.          Date            in           Services
 2                                                                         Commerce
 3
 4
 5
 6
 7                                           74695959     Jun. 21, 1995     Oct. 15,    Class 39: truck
                                              1968672     Apr. 16, 1996      1987       and moving
 8                                                                                      van rental
                                                                                        services
 9
10
11   The mark consists of an orange and
     white color combination as applied to
12   truck and moving vans. The drawing
     is lined for the color orange, and
13   orange and white are claimed as part
     of the mark. The dotted lines shown
14   on the drawing are not part of the
15   mark and serve only to show the
     position of the mark on the goods.
16
17
18
19
20
21
                                             72208429     Dec. 18, 1964      Jun. 15,   Class 39:
22
                                              827358      Apr. 11, 1967       1946      rental or
23                                                                                      automobile
                                                                                        freight trailer
24
25   The drawing is lined for the colors
26   silver and orange.

27
28
                                                   12
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 1                 Mark                    Ser. /       Filing / Reg.    First Use      Goods and
                                          Reg. No.          Date            in           Services
 2                                                                      Commerce
 3
 4
 5
 6
 7                                        72176274     Sep. 04, 1963      Jul. 15,   Class 39: truck
                                           786156      Mar. 02, 1965       1959      rentals
 8
 9
     The drawing is lined for the color
10   orange
11
12
13
14
15
16
                                          73038107     Nov. 25, 1974     Nov. 15,    Class 39: truck
17                                         1024321     Nov. 04, 1975      1969       and automobile
                                                                                     trailer rentals
18
19
     The drawing is lined for the color
20   orange
21
22
23
24
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            26.    These registrations are valid, subsisting, and in full force and effect. True and
26
     correct copies of documents retrieved from the USPTO’s online Trademark Status &
27
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                                                  13
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 1 Document Retrieval database (“TSDR”) evidencing the current status and U-Haul’s ownership
 2 of the registrations are attached hereto as Exhibit B.
 3           27.     Notably, these registrations have achieved incontestable status pursuant to 15
 4 U.S.C. § 1065. Accordingly, the registrations provide conclusive evidence of the validity of
 5 the registered trade dress and trademarks, U-Haul’s ownership of the registered trade dress and
 6 service marks, and U-Haul’s exclusive right to use the registered trade dress and service marks
 7 in connection with the services recited in the certificates of registration for the trade dress and
 8 service marks. 15 U.S.C. § 1115(b).
 9
                              U-Haul’s Longstanding Use of the Color Orange
10                 In Connection With Its Self-Moving and Storage Services at self-storage
                                              facilities
11
12           28.     U-Haul also offers Self-Moving and Storage Services at self-storage facilities.
13 From the beginning, U-Haul customers used its orange rental equipment to store their goods,
14 and since as early as 1974, U-Haul has directly used the color orange for sale and promotion
15 of U-Haul Self-Moving and Storage Services at self-storage facilities.
16        29.     Notably, Self-Moving and Storage Services are inextricably linked in the
17 minds of consumers because many consumers who are moving need to store their belongings,
18 whether it is in a truck, a trailer or in a self-storage facility, and customers who are storing
19 their belongings need to move them to and from storage. Even prior to U-Haul’s operation of
20 self-storage facilities, U-Haul’s customers regularly rented self-move vehicles and trailers
21 from U-Haul to use for self-storage. And of course today, many customers who rent storage
22 units at a self-storage facility also rent vehicles to move possessions to or from those self-
23 storage units.
24          30.   Like U-Haul, Public Storage over the years has provided its customers with
25 options for moving their belongings.
26
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                                                   14
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 1           31.    U-Haul prominently displays the color orange directly on its self-storage
 2 facilities and in nationwide advertising and promotional materials for those Self-Moving and
 3 Storage Services, including, but not limited to, roadside and building signage and the Internet.
 4           32.    As pictured below, U-Haul also promotes its services provided at self-storage
 5 facilities on the trucks it rents using an image of an orange storage doors like those used in
 6 many of U-Haul’s self-storage facilities:
 7
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 9
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17           33.    U-Haul advertises and sells its self-storage services under the color orange

18 throughout the United States in all 50 states, including from retail locations in this judicial
19 district. Representative examples of U-Haul’s various uses of the color orange in connection
20 with its self-storage services are pictured below and in Exhibit C attached hereto.
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 7           34.    U-Haul has invested substantial resources developing, advertising, promoting
 8 and marketing its self-storage services under various trademarks and trade dress that feature
 9 the color orange throughout the United States.
10           35.    In addition, U-Haul owns the following long-standing federal registrations for
11 trade dress and service marks that incorporate the color orange reciting storage services:
12
13                 Mark                 Ser. / Reg.     Filing /      First Use     Goods and
                                           No.         Reg. Date         in          Services
14                                                                   Commerce
15                                       78468909       Aug. 17,      Aug. 01,    Class 35:
                                         3034911         2004          2000       Retail store
16                                                      Dec. 27,                  services
17                                                       2005                     featuring truck
                                                                                  and automobile
18                                                                                trailer hitches,
                                                                                  boxes for
19
                                                                                  storage and
20                                                                                moving, truck
                                                                                  and automobile
21                                                                                towing
22                                                                                systems, lights,
                                                                                  transmission
23                                                                                coolers, and
                                                                                  propane; retail
24
                                                                                  outlet services
25                                                                                featuring
                                                                                  trucks and
26                                                                                trailers
27
28
                                                  16
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 1              Mark              Ser. / Reg.     Filing /     First Use     Goods and
 2                                   No.         Reg. Date        in          Services
                                                              Commerce
 3
                                                                           Class 39:
 4                                                                         Rental
                                                                           services,
 5                                                                         namely, rental
 6                                                                         of trucks, vans,
                                                                           automobiles,
 7                                                                         automobile
                                                                           freight trailers,
 8
                                                                           hitches, pads,
 9                                                                         tow bars,
                                                                           dollies,
10                                                                         carriers, hand
11                                                                         trucks, moving
                                                                           equipment,
12                                                                         vehicles,
                                                                           moving vans,
13                                                                         moving boxes,
14                                                                         storage rooms;
                                                                           general storage
15                                                                         services; rental
16                                                                         of warehouse
                                                                           space;
17                                                                         warehouse
                                                                           storage
18                                                                         services, rental
19                                                                         of garage
                                                                           space; parking
20                                                                         lot services;
21                                                                         rental of
                                                                           parking spaces;
22                                                                         cargo handling
                                                                           cargo
23                                                                         unloading;
24                                                                         moving van
                                                                           services,
25                                                                         moving van
                                                                           transport;
26
                                                                           rental of
27                                                                         moving vans;
                                                                           furniture
28
                                            17
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 1              Mark                 Ser. / Reg.    Filing /      First Use     Goods and
 2                                      No.        Reg. Date         in          Services
                                                                 Commerce
 3
                                                                              moving;
 4                                                                            delivery of
                                                                              goods by truck,
 5                                                                            car or van;
 6                                                                            truck hauling,
                                                                              truck towing
 7
 8                                   75176756       Oct. 04,      Oct. 01,    Class 35: retail
 9                                   2286782         1996          1992       store services
                                                    Oct. 12,                  featuring
10                                                   1999                     packaging and
                                                                              moving
11
                                                                              supplies
12   The mark consists of ten
     windows arranged along two
13   perpendicular edges of a                                                 Class 39: self-
     building with orange storage                                             storage
14
     doors visible through the                                                services; rental
15   windows. The matter shown in                                             of moving vans
     broken lines on the drawing                                              and trucks
16
     serves to show positioning of
17   the mark and no claim is made
     to it.
18
19
20
21
22
23
                                     73103035       Oct. 13,      Sep. 14,    Class 39: truck
24
                                     1094740         1976          1974       and automobile
25                                                  Jun. 27,                  trailer rentals
                                                     1978                     and warehouse
26                                                                            storage
27                                                                            services

28
                                              18
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 1                  Mark                   Ser. / Reg.     Filing /     First Use       Goods and
 2                                            No.         Reg. Date        in            Services
                                                                       Commerce
 3
      The drawing is lined for the
 4    colors blue and orange
 5
 6
 7
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 9
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              36.    These registrations are valid, subsisting, and in full force and effect. True and
11
     correct copies of documents retrieved from the USPTO’s online TSDR database evidencing
12
     the current status and U-Haul’s ownership of the registrations are attached hereto as Exhibit
13
     D.
14
              37.    Notably, Registration Nos. 1094740 and 3034911 have achieved
15
     incontestable status pursuant to 15 U.S.C. § 1065. Accordingly, these registrations provide
16
     conclusive evidence of the validity of the registered service marks, U-Haul’s ownership of
17
     the registered service marks, and U-Haul’s exclusive right to use the registered service marks
18
     in connection with the services recited in the certificates of registration for the service marks.
19
     15 U.S.C. § 1115(b).
20
        DEFENDANT’S IMPROPER AND FRAUDULENT ATTEMPTS TO CLAIM
21    EXCLUSIVE RIGHTS IN THE COLOR ORANGE AND THE WORD “ORANGE”
22
              38.    Defendant is U-Haul’s direct competitor in the self-storage market in 40 states
23
     and Washington D.C. Although Public Storage’s founder, Wayne Hughes, has admitted that
24
     Public Storage originally and intentionally knocked-off the color orange to draw an
25
     association with U-Haul as a way to attract customers to Public Storage, it is only over the
26
     past few years that Public Storage has made a dramatic shift in its branding and promotion of
27
     its self-storage services away from prominently using the colors purple and/or yellow together
28
                                                     19
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 1 with the color orange in its promotional materials, self-storage facilities, and signage to
 2 prominently featuring only the color orange, a shade of orange that is much closer to the shade
 3 of orange used by U-Haul.
 4           39.    In conjunction with this shift, Defendant has improperly attempted to claim
 5 exclusive nationwide rights to use and exclude others from using the color orange in various
 6 formats as well as the word “ORANGE” for self-storage and related services by, among other
 7 things, filing several federal trademark applications seeking to register these marks.
 8                  Defendant’s Prior Use of the Colors Purple and/or Yellow
 9                          in Combination with the Color Orange

10           40.    Upon information and belief, starting in 1994 and for many years thereafter,
11 Defendant predominantly featured the color purple in combination with the color orange in
12 its logo, on promotional materials, as well as on its self-storage facilities. Examples of Public
13 Storage’s past use of the colors purple in combination with the color orange are pictured
14 below:
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 9           41.    Starting in 1996, Defendant even sought to protect its rights in the combination
10 of the colors purple and/or yellow and orange by filing applications to register and obtaining
11 registrations for trade dress and service marks that incorporate both colors for its self-storage
12 services including those listed below:
13
              Mark                 Ser. /       Filing /      First Use      Goods and
14                                Reg. No.     Reg. Date         in           Services
15                                                           Commerce
                                 75821977       Oct. 14,     Oct. 1994     Class 39:
16                               2371339         1999                      renting and
17                                              Jul. 25,                   leasing self-
                                                 2000                      storage
18 The mark consists of three                                              facilities
   stripes which are applied
19
   in the colors and the
20 proportions shown to the
   exterior of buildings used
21 for providing the services.
22 The mark is lined for the
   colors orange, yellow, and
23 purple.
24
25
26                               75158918       Sep. 03,     Oct. 1994     Class 35: retail store
                                 2333475         1996                      services featuring
27
                                                Mar. 21,                   metal locks, storage
28                                               2000                      boxes, wardrobe
                                                  21
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 1            Mark                Ser. /     Filing /    First Use     Goods and
 2                               Reg. No.   Reg. Date       in          Services
                                                        Commerce
 3
                                                                     boxes, television and
 4                                                                   microwave boxes,
                                                                     mirror boxes, lamp
 5                                                                   boxes, file boxes, dish
 6 The mark consists of three                                        barrel boxes, paper
   stripes which are applied                                         cushioning for
 7 in the colors and the                                             packing, newsprint,
   proportions shown to the                                          paper padding for
 8
   exterior of buildings used                                        moving furniture,
 9 for providing the services.                                       plastic stretch wrap,
   The mark is lined for the                                         plastic cellular
10 colors orange, yellow, and                                        cushioning packaging
11 purple.                                                           material for packing,
                                                                     markers and pens,
12                                                                   paper tape, polystyrene
                                                                     foam sheets for
13                                                                   packing, foam picture
14                                                                   corner protectors,
                                                                     plastic packing tape,
15                                                                   plastic strapping tape,
16                                                                   padded foam pouches
                                                                     for packing dishes and
17                                                                   glass items, foam
                                                                     peanuts for packing,
18                                                                   plastic sacks for
19                                                                   protecting furniture
                                                                     during transportation,
20                                                                   plastic chair and sofa
21                                                                   covers for protecting
                                                                     furniture during
22                                                                   transportation, padded
                                                                     fabric covers for
23                                                                   protecting furniture
24                                                                   during transportation,
                                                                     commercial tape
25                                                                   dispensers, rope and
                                                                     twine made of natural
26
                                                                     or synthetic fibers
27
28
                                               22
     Case 2:24-cv-03160-MTL     Document 13    Filed 12/20/24   Page 23 of 80




 1           Mark               Ser. /     Filing /     First Use     Goods and
 2                             Reg. No.   Reg. Date        in          Services
                                                       Commerce
 3
                               75978578   Sep. 03,     Sep. 1998    Class 16: writing
 4                             2286764     1996                     implements, namely,
                                          Oct. 12,                  markers and pens
 5                                         1999
 6
 7 The mark is lined for the
   colors orange and purple
 8
 9
10
11                             75158920   Sep. 03,     Sep. 1998    Class 16: packing and
                               2487759     1996                     moving materials,
12                                        Sep. 11,                  namely, paper padding
13                                         2001                     for moving furniture

14
   The mark is lined for the                                        Class 17: packing and
15 colors orange ad purple                                          moving materials,
16                                                                  namely, polystyrene
                                                                    foam sheets for
17                                                                  packing, plastic
                                                                    strapping tape, padded
18
                                                                    foam pouches for
19                                                                  packing dishes and
                                                                    glass items, foam
20                                                                  peanuts for packing,
21                                                                  plastic sacks for
                                                                    protecting furniture
22                                                                  during transportation,
                                                                    plastic chair and sofa
23                                                                  covers for protecting
24                                                                  furniture during
                                                                    transportation, and
25                                                                  padded fabric covers
26                                                                  for protecting furniture
                                                                    during transportation
27
28
                                              23
     Case 2:24-cv-03160-MTL     Document 13    Filed 12/20/24   Page 24 of 80




 1           Mark               Ser. /     Filing /     First Use     Goods and
 2                             Reg. No.   Reg. Date        in          Services
                                                       Commerce
 3
                               75978568   Sep. 03,     Sep. 1998    Class 6: metal locks
 4                             2363325     1996
                                          Jun. 27,
 5                                         2000                     Class 16: packing and
                                                                    moving materials,
 6 The mark is lined for the
                                                                    namely, storage boxes,
 7 colors orange ad purple                                          wardrobe boxes,
                                                                    television and
 8                                                                  microwave boxes,
 9                                                                  mirror boxes, lamp
                                                                    boxes, file boxes, dish
10                                                                  barrel boxes, plastic
                                                                    cellular cushioning
11                                                                  packing material for
12                                                                  packing; and paper
                                                                    tape
13
14                                                                  Class 17: packing and
15                                                                  moving materials,
                                                                    namely, plastic
16                                                                  packing tape, and
17                                                                  commercial tape
                                                                    dispensers
18
19                                                                  Class 35: retail store
20                                                                  services featuring
                                                                    metal locks, storage
21                                                                  boxes, wardrobe
                                                                    boxes, television and
22                                                                  microwave boxes,
23                                                                  mirror boxes, lamp
                                                                    boxes, file boxes, dish
24                                                                  barrel boxes, paper
                                                                    cushioning for
25
                                                                    packing, newsprint,
26                                                                  paper padding for
                                                                    moving furniture,
27                                                                  plastic stretch wrap,
28                                                                  cellular cushioning

                                              24
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 1             Mark                Ser. /        Filing /      First Use      Goods and
 2                                Reg. No.      Reg. Date         in           Services
                                                              Commerce
 3
                                                                            packaging material for
 4                                                                          packing, markers and
                                                                            pens, paper tape,
 5                                                                          polystyrene foam
 6                                                                          sheets for packing,
                                                                            foam picture corner
 7                                                                          protectors, plastic
                                                                            packing tape, plastic
 8
                                                                            strapping tape, padded
 9                                                                          foam pouches for
                                                                            packing dishes and
10                                                                          glass items, foam
11                                                                          peanuts for packing,
                                                                            plastic sacks for
12                                                                          protecting furniture
                                                                            during transportation,
13                                                                          plastic chair and sofa
14                                                                          covers for protecting
                                                                            furniture during
15                                                                          transportation, padded
16                                                                          fabric covers for
                                                                            protecting furniture
17                                                                          during transportation,
                                                                            commercial tape
18                                                                          dispensers, rope and
19                                                                          twine made of natural
                                                                            or synthetic fibers
20
                       Defendant’s Shift to Using Only the Color Orange and
21
                           Improper Attempts to Claim Exclusive Rights
22           42.    Despite many years of featuring the color purple in combination with the color
23 orange in the promotion of its self-storage services and on its self-storage facilities, and having
24 knowledge of U-Haul’s prominent use of the color orange in connection with its Self-Moving
25 and Storage Services, Defendant made a distinct shift in its marketing efforts by limiting and
26 then apparently abandoning all use of the color purple to switch to solely featuring the color
27 orange on its self-storage facilities and its marketing materials. Examples of Defendant’s
28
                                                   25
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 1 recent use of the color orange (without the color purple) in connection with its self-storage
 2 services and its marketing for those services are pictured below and in Exhibit E attached
 3 hereto:
 4
 5
 6
 7
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17          43.    Defendant’s shift to solely featuring the color orange to promote its services is
18 further demonstrated by the fact that it modified the appearance of many of its self-storage
19 facilities to eliminate the use of the colors purple and/or yellow and only display the color
20 orange. Examples of the modifications are pictured below and in Exhibit F attached hereto:
21
22           Prior Building Appearance                    Current Building Appearance
23
24
25
26
27
28
                                                  27
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 1
            Prior Building Appearance              Current Building Appearance
 2
 3
 4
 5
 6
 7
 8
 9
10
11
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21
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                                            28
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 1
            Prior Building Appearance              Current Building Appearance
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
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20
21
22
23
24
25
26
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28
                                            29
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 1
            Prior Building Appearance              Current Building Appearance
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
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14
15
16
17
18
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21
22
23
24
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28
                                            30
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 1
              Prior Building Appearance                  Current Building Appearance
 2
 3
 4
 5
 6
 7
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11
12
13
14
15
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17
18
19          44.    In parallel to Defendant’s change in branding, Defendant has also sought to
20 wrongfully monopolize the use of the color orange through a scheme to serially register a wide
21 range of trademarks that include the use of the word ORANGE, the color orange on a wide
22 range of common building features and the color orange on a wide range of signs, countertops,
23 canopies, furnishings, displays, and storage doors, thereby attempting to foreclose any
24 competitors from using the color orange in connection with self-storage services or related
25 goods and services even though Defendant is fully aware of the industry wide use of the color
26 orange with self-storage services.
27
28
                                                 31
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 1          45.    Such applications for trade dress and service marks that incorporate and solely
 2 feature the color orange or feature the word “orange” for self-storage and related services
 3 include the following:
 4
 5            Mark                  Ser. /  Filing / First Use in Goods and Services
                                  Reg. No. Reg. Date Commerce
 6                                88746009 Jan. 03,     1972      Class 39: Providing
                                             2020                 self-storage facilities
 7                                                                for others; Renting
 8                                                                and leasing of private
                                                                  storage spaces;
 9                                                                Renting and leasing of
10                                                                climate-controlled
                                                                  storage spaces;
11                                                                Storage of goods
12                                88746025      Jan. 03,       1972        Class 39: Providing
13                                               2020                      self-storage facilities
                                                                           for others; Renting
14                                                                         and leasing of private
15                                                                         storage spaces;
                                                                           Renting and leasing of
16                                                                         climate-controlled
                                                                           storage spaces;
17                                                                         Storage of goods
18                                88623045     Sep. 19,        1972        Class 39: Providing
                                                2019                       self-storage facilities
19                                                                         for others; Renting
20                                                                         and leasing of private
                                                                           storage spaces;
21                                                                         Renting and leasing of
                                                                           climate-controlled
22                                                                         storage spaces;
23                                                                         Storage of goods

24                                88623068     Sep. 19,        2011        Class 39: Providing
25                                              2019                       self-storage facilities
                                                                           for others; Renting
26                                                                         and leasing of private
                                                                           storage spaces with
27                                                                         limited access;
28                                                                         Renting and leasing of

                                                 32
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 1             Mark                 Ser. /     Filing / First Use in        Goods and Services
 2                                 Reg. No.   Reg. Date Commerce
                                                                           climate-controlled
 3                                                                         storage spaces with
                                                                           limited access; storage
 4
                                                                           of goods
 5
                                   88623084      Sep. 19,      1972        Class 39: Providing
 6                                                2019                     self-storage facilities
 7                                                                         for others; renting and
                                                                           leasing of private
 8                                                                         storage spaces; renting
                                                                           and leasing of climate-
 9 The mark consists of the
                                                                           controlled storage
   color orange as used in                                                 spaces; storage of
10
   connection with self-storage                                            goods
11 services as applied on
   buildings, signage, awnings,
12 canopies,        furnishings,
13 displays, and countertops.
14                                 88623145      Sep. 19,   Sep. 1998      Class 39: Providing
                                                  2019                     self-storage facilities
15
                                                                           for others; Renting
16                                                                         and leasing of private
                                                                           storage spaces;
17 The mark consists of the                                                Renting and leasing of
18 color orange as applied to                                              climate-controlled
   business signage                                                        storage spaces;
19                                                                         Storage of goods
                                   88623262      Sep. 19,   Aug. 1972      Class 39: Providing
20
                                                  2019                     self-storage facilities
21                                                                         for others; Renting
                                                                           and leasing of storage
22                                                                         spaces; Storage of
23                                                                         goods

24
25   BEHIND THE ORANGE             88623214      Sep. 19,    May 03,       Class 39: Providing
           DOORS                   6598358        2019        2021         self-storage facilities
26                                               Dec. 21,                  for others; providing
27                                                2021                     self-storage facilities,
                                                                           namely, renting and
28                                                                         leasing of private
                                                  33
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 1           Mark              Ser. /     Filing / First Use in      Goods and Services
 2                            Reg. No.   Reg. Date Commerce
                                                                    storage spaces for
 3                                                                  others; providing self-
                                                                    storage facilities,
 4
                                                                    namely, renting and
 5                                                                  leasing of climate-
                                                                    controlled storage
 6                                                                  spaces for others;
 7                                                                  storage of goods
      ORANGE DOOR    87195235               Oct. 06,    Oct. 01,    Class 35: Tenant
 8 STORAGE INSURANCE 5697798                 2016        2016       storage insurance
        PROGRAM                             Mar. 12,                program, namely,
 9
                                             2019                   insurance claims
10                                                                  management services
                                                                    for insurance program
11                                                                  offering insurance
12                                                                  coverage to tenants for
                                                                    their contents stored at
13                                                                  self-storage facilities
14
                                                                    Class 36: Tenant
15                                                                  storage insurance
                                                                    program, namely,
16                                                                  insurance
17                                                                  underwriting and
                                                                    administration
18                                                                  services for insurance
                                                                    program offering
19                                                                  insurance coverage to
20                                                                  tenants for their
                                                                    contents stored at self-
21                                                                  storage facilities
22     ORANGE DOORS           98637899      Jul. 08,                Class 39: Providing
                                             2024                   self-storage facilities
23                                                                  for others; renting and
                                                                    leasing of storage
24                                                                  spaces; storage of
25                                                                  goods
          PS ORANGE           98637892      Jul. 08,                Class 39: Providing
26                                           2024                   self-storage facilities
27                                                                  for others; renting and
                                                                    leasing of storage
28
                                             34
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 1           Mark              Ser. /     Filing / First Use in      Goods and Services
 2                            Reg. No.   Reg. Date Commerce
                                                                    spaces; storage of
 3                                                                  goods
                              87503565      Jun. 23,   Sep. 1998    Class 6: Metal Locks;
 4
                              6428493        2017                   Metal locks for use in
 5                                          Jul. 20,                securing storage
                                             2021                   facilities
 6
 7                                                                  Class 7: Packing and
                                                                    storing materials,
 8                                                                  namely, commercial
                                                                    adhesive tape
 9
                                                                    dispensers machines
10                                                                  for commercial use

11                                                                  Class 16: Packing
12                                                                  paper; Plastic bags for
                                                                    packing; Plastic
13                                                                  bubble packs for
                                                                    wrapping or
14
                                                                    packaging; Plastic
15                                                                  film for wrapping or
                                                                    packaging; Cardboard;
16                                                                  Cardboard boxes;
17                                                                  Cardboard tubes;
                                                                    Cardboard packaging;
18                                                                  Cardboard containers;
                                                                    Packing and moving
19                                                                  materials made of
20                                                                  cardboard, namely,
                                                                    storage boxes,
21                                                                  wardrobe boxes,
22                                                                  television and
                                                                    microwave boxes,
23                                                                  mirror boxes, lamp
                                                                    boxes, file boxes, dish
24                                                                  barrel boxes, paper
25                                                                  padding for moving
                                                                    furniture; Paper tape;
26                                                                  Moving kits, namely,
27                                                                  kits comprising
                                                                    supplies for packaging
28                                                                  and moving purposes,
                                             35
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 1           Mark              Ser. /     Filing / First Use in     Goods and Services
 2                            Reg. No.   Reg. Date Commerce
                                                                   namely, cardboard
 3                                                                 boxes in a variety of
                                                                   sizes, packing paper,
 4
                                                                   stretch plastic wrap,
 5                                                                 adhesive tape and
                                                                   dispenser used for
 6                                                                 moving and packing
 7                                                                 for household and
                                                                   commercial use, fitted
 8                                                                 plastic covers for
                                                                   transporting furniture,
 9
                                                                   plastic bubble-
10                                                                 cushioning pouches
                                                                   for wrapping and
11                                                                 packaging, packing
12                                                                 foam cushioning in
                                                                   sheet and roll form,
13                                                                 quilted pads, moving
                                                                   blankets; Plastic film
14                                                                 for wrapping; Plastic
15                                                                 packing tape for
                                                                   personal household
16                                                                 use
17
                                                                   Class 17: Packing and
18                                                                 storing materials,
                                                                   namely, masking tape,
19                                                                 adhesive plastic
20                                                                 packing tape for
                                                                   commercial use; Low-
21                                                                 density polyurethane
22                                                                 packaging foam in the
                                                                   form of foam peanuts,
23                                                                 foam pouches for
                                                                   dishes, plates, glasses
24                                                                 and bowls; Plastic
25                                                                 foam used for storage
                                                                   and packing; Low-
26                                                                 density polyurethane
                                                                   packaging foam in the
27
                                                                   form of foam picture
28                                                                 corner protectors;
                                            36
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 1           Mark              Ser. /     Filing / First Use in     Goods and Services
 2                            Reg. No.   Reg. Date Commerce
                                                                   Polystyrene foam
 3                                                                 sheets for packing;
                                                                   Plastic cellular
 4
                                                                   cushioning packing
 5                                                                 material for packing;
                                                                   Plastic film for
 6                                                                 packing; Moving
 7                                                                 blankets in the nature
                                                                   of thermal insulating
 8                                                                 blankets not of rubber,
                                                                   plastic or paper for use
 9
                                                                   as padding materials
10                                                                 for the storage and
                                                                   transportation of
11                                                                 goods; Insulation
12                                                                 covers for storage and
                                                                   transportation of
13                                                                 goods, namely,
                                                                   padded insulating
14                                                                 blanket pads not of
15                                                                 rubber, plastic or
                                                                   paper
16
17                                                                 Class 22: Ropes;
                                                                   Ropes and synthetic
18                                                                 ropes; Packing rope;
                                                                   Packing string; Twine;
19                                                                 Moving blankets, in
20                                                                 the nature of
                                                                   tarpaulins, not of
21                                                                 rubber, plastic or
22                                                                 paper for use as
                                                                   padding materials
23
                                                                   Class 24: Unfitted
24                                                                 padded fabric covers
25                                                                 for protecting
                                                                   furniture during
26                                                                 packing and moving;
                                                                   Plastic mattress covers
27
                                                                   used to protect
28                                                                 mattress during
                                            37
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 1           Mark              Ser. /     Filing / First Use in     Goods and Services
 2                            Reg. No.   Reg. Date Commerce
                                                                   packing and moving;
 3                                                                 padding materials,
                                                                   namely, moving
 4
                                                                   blankets not of rubber,
 5                                                                 plastic, or paper used
                                                                   for moving and
 6                                                                 packing
 7
                                                                   Class 35: Retail store
 8                                                                 services featuring
                                                                   packing, moving and
 9
                                                                   storage goods; Retail
10                                                                 store services
                                                                   featuring plastic and
11                                                                 paper products for use
12                                                                 in packing and
                                                                   moving; Retail store
13                                                                 services featuring
                                                                   paper and foam
14                                                                 packaging, metal
15                                                                 locks, storage boxes,
                                                                   wardrobe boxes,
16                                                                 television and
17                                                                 microwave boxes,
                                                                   mirror boxes, lamp
18                                                                 boxes, file boxes, dish
                                                                   barrel boxes, paper
19                                                                 cushioning for
20                                                                 packing, newsprint,
                                                                   paper padding for
21                                                                 moving furniture,
22                                                                 plastic stretch wrap,
                                                                   cellular cushioning
23                                                                 packaging material for
                                                                   packing, markers and
24                                                                 pens, paper tape,
25                                                                 polystyrene foam
                                                                   sheets for packing,
26                                                                 foam picture corner
                                                                   protectors, plastic
27
                                                                   packing tape, plastic
28                                                                 strapping tape, padded
                                            38
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 1           Mark              Ser. /     Filing / First Use in      Goods and Services
 2                            Reg. No.   Reg. Date Commerce
                                                                    foam pouches for
 3                                                                  packing dishes and
                                                                    glass items, foam
 4
                                                                    peanuts for packing,
 5                                                                  plastic sacks for
                                                                    protecting furniture,
 6                                                                  plastic chair and sofa
 7                                                                  covers for protecting
                                                                    furniture, padded
 8                                                                  fabric covers, rope and
                                                                    twine, blanket pads
 9
                                                                    and moving blankets
10                            88061941      Aug. 01,    Jun. 25,    Class 36: Commercial
                              5860260        2018        2018       real estate
11                                          Sep. 17,                management services;
12                                           2019                   real estate services,
                                                                    namely, management
13                                                                  of self-storage
                                                                    facilities
14
                              88623195      Sep. 19,    Dec. 28,    Class 39: Providing
15                            6176927        2019        2018       self-storage facilities
                                            Oct. 13,                for others; renting and
16                                           2020                   leasing of private
17                                                                  storage spaces; renting
                                                                    and leasing of climate-
18                                                                  controlled storage
                                                                    spaces; storage of
19
                                                                    goods
20                            98637904      Jul. 08,                Class 35: Insurance
                                             2024                   claims auditing
21                                                                  services; Insurance
22                                                                  claims auditing
                                                                    services in the fields
23                                                                  of renters insurance,
                                                                    tenant insurance, and
24
                                                                    storage insurance
25
                                                                    Class 36: Insurance
26                                                                  claims processing;
27                                                                  Insurance claims
                                                                    management services;
28                                                                  Insurance information
                                             39
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 1           Mark              Ser. /     Filing / First Use in      Goods and Services
 2                            Reg. No.   Reg. Date Commerce
                                                                    and consultancy;
 3                                                                  Insurance
                                                                    underwriting and
 4
                                                                    administration;
 5                                                                  Insurance
                                                                    underwriting, issuing,
 6                                                                  and administration
 7                                                                  services; Insurance
                                                                    claims processing in
 8                                                                  the fields of renters
                                                                    insurance, tenant
 9
                                                                    insurance, and storage
10                                                                  insurance; Insurance
                                                                    claims management
11                                                                  services in the fields
12                                                                  of renters insurance,
                                                                    tenant insurance, and
13                                                                  storage insurance;
                                                                    Insurance
14                                                                  underwriting and
15                                                                  administration in the
                                                                    fields of renters
16                                                                  insurance, tenant
17                                                                  insurance, and storage
                                                                    insurance; Insurance
18                                                                  underwriting, issuing,
                                                                    and administration
19                                                                  services in the fields
20                                                                  of renters insurance,
                                                                    tenant insurance, and
21                                                                  storage insurance
22                            98637909      Jul. 08,                Class 35: Insurance
                                             2024                   claims auditing
23                                                                  services; Insurance
                                                                    claims auditing
24                                                                  services in the fields
25                                                                  of renters insurance,
                                                                    tenant insurance, and
26                                                                  storage insurance
27
                                                                    Class 36: Insurance
28                                                                  claims processing;
                                             40
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 1           Mark              Ser. /     Filing / First Use in      Goods and Services
 2                            Reg. No.   Reg. Date Commerce
                                                                    Insurance claims
 3                                                                  management services;
                                                                    Insurance information
 4
                                                                    and consultancy;
 5                                                                  Insurance
                                                                    underwriting and
 6                                                                  administration;
 7                                                                  Insurance
                                                                    underwriting, issuing,
 8                                                                  and administration
                                                                    services; Insurance
 9
                                                                    claims processing in
10                                                                  the fields of renters
                                                                    insurance, tenant
11                                                                  insurance, and storage
12                                                                  insurance; Insurance
                                                                    claims management
13                                                                  services in the fields
                                                                    of renters insurance,
14                                                                  tenant insurance, and
15                                                                  storage insurance;
                                                                    Insurance
16                                                                  underwriting and
17                                                                  administration in the
                                                                    fields of renters
18                                                                  insurance, tenant
                                                                    insurance, and storage
19                                                                  insurance; Insurance
20                                                                  underwriting, issuing,
                                                                    and administration
21                                                                  services in the fields
22                                                                  of renters insurance,
                                                                    tenant insurance, and
23                                                                  storage insurance
                              87195245      Oct. 06,    Oct. 01,    Class 35: Tenant
24                            5697799        2016        2016       storage insurance
25                                          Mar. 12,                program, namely,
                                             2019                   insurance claims
26                                                                  management services
27                                                                  for insurance program
                                                                    offering insurance
28                                                                  coverage to tenants for
                                             41
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 1              Mark                 Ser. /      Filing / First Use in       Goods and Services
 2                                  Reg. No.    Reg. Date Commerce
                                                                            their contents stored at
 3                                                                          self-storage facilities
 4
                                                                            Class 36: Tenant
 5                                                                          storage insurance
                                                                            program, namely,
 6                                                                          insurance
 7                                                                          underwriting and
                                                                            administration
 8                                                                          services for insurance
                                                                            program offering
 9
                                                                            insurance coverage to
10                                                                          tenants for their
                                                                            contents stored at self-
11                                                                          storage facilities
12           46.    Notably, Defendant’s attempts to register and registration of the various
13 depictions of the color orange above is improper because filing the applications to register the
14 trade dress above required that Defendant knowingly represent that it believed that it had
15 substantially exclusive use of the applied-for orange trade dress and/or that the applied-for
16 orange trade dress has acquired distinctiveness for Defendant’s services despite knowing that
17 in addition to U-Haul’s longstanding and extensive use of the color orange, there are hundreds
18 of independent third-party self-storage providers that use the color orange in connection with
19 self-storage services. Many of those applications have been rejected by the USPTO.
20           47.    Defendant is now improperly relying on its registrations for marks that
21 include the term “orange,” including its’ fraudulently maintained registrations, as an
22 additional basis for seeking to exclude U-Haul and others from using the color orange in
23 connection with self-storage services.
24           48.    As such, Defendant’s attempts to register the trade dress and service marks
25 listed above are improper and are part of a wrongful attempt to monopolize the color orange
26 and the term “orange” for its own use in connection with self-storage services.
27           49.    In addition, Defendant’s scattershot efforts to register various orange building
28 trade dress stand in stark contrast to a typical trade dress registration. A business seeking to
                                                   42
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 1 protect its building design trade dress typically seeks to register a specific, distinctive, and
 2 unique feature of trade dress. In contrast, Defendant has filed multiple registrations covering
 3 various indistinct portions of buildings. For example, in application Ser. Nos. 88623068 and
 4 88623084, Defendant seeks to broadly register the color orange “as used in connection with
 5 self-storage services as applied on buildings, signage, awnings, canopies, furnishings,
 6 displays, and countertops” (Ser. No. 88623068) and “as applied to business signage” (Ser.
 7 No. 88623084) without claiming a specific distinctive design feature. These scattershot
 8 trademark applications appear designed to prevent others in the self-storage industry from
 9 using the color orange in any capacity on the exterior of a building. These broad claims to an
10 exclusive right to use the color orange in connection with self-storage services are also
11 improper given the longstanding and widespread use of the color by hundreds of third party
12 self-storage providers.
13
         Defendant’s Deceptive and Fraudulent Maintenance of its Registration for the
14        ORANGE STORAGE Mark (Reg. No. 5083797) Asserted Against U-Haul
15           50.    On information and belief, on February 26, 2016, a third party that is
16 completely unrelated to Defendant, IEP Group, LLC (“IEP”), filed an application to register
17 the ORANGE STORAGE mark (Ser. No. 86920897) for “Providing self-storage facilities for
18 others” in Class 39 based on an intent to use the mark in connection with those services. A
19 true and correct copy of this application is attached hereto as Exhibit G.
20           51.    Based upon U-Haul’s investigation and on information and belief, this
21 ORANGE STORAGE mark was adopted by IEP as part of a larger business concept that was
22 intended to offer commercial storage solutions of varying sizes and types (covered, enclosed,
23 outdoor, etc.,) to companies working in the oil exploration industry in Midland, Texas. This
24 was a business venture that was completely separate and distinct from Public Storage and the
25 self-storage solutions offered by Public Storage.
26           52.    On September 20, 2016, IEP filed a Statement of Use in connection with the
27 ORANGE STORAGE application alleging first use of the mark on March 1, 2016 and
28 submitting a specimen of use showing use of the ORANGE STORAGE mark in connection
                                                  43
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 1 with its new business concept branded as “Orange Storage” and with the services recited in
 2 the application. A true and correct copy of the Statement of Use is attached hereto as Exhibit
 3 H.
 4          53.    The USPTO accepted IEP’s Statement of Use, and on November 15, 2016
 5 issued a registration for the ORANGE STORAGE mark to IEP (Reg. No. 5083797) for
 6 “Providing self-storage facilities for others” in in Class 39 (the “ORANGE STORAGE
 7 Registration”). A true and correct copy of the registration certificate for the ORANGE
 8 STORAGE mark is attached hereto as Exhibit I.
 9          54.    On November 19, 2018, IEP assigned the ORANGE STORAGE Registration
10 to Defendant. A true and correct copy of the assignment is attached hereto as Exhibit J.
11          55.    Based on U-Haul’s investigation and on information and belief, Defendant
12 did not use the ORANGE STORAGE mark after obtaining the mark from IEP in 2018. Facing
13 a November 15, 2022 deadline for filing a Declaration of Use under 15 U.S.C. §1058 (a
14 “Section 8 Declaration”) required to maintain the ORANGE STORAGE Registration,
15 Defendant added the ORANGE STORAGE mark to a pre-existing blog titled “The Organized
16 Life” accessible on Defendant’s website shortly before the declaration was due solely to
17 create a specimen of use to submit to the USPTO with its Section 8 Declaration.
18          56.    Notably, Defendant did not file a Declaration of Incontestability under
19 Section 15 (a “Section 15 Declaration”) with the Section 8 Declaration it filed in connection
20 with the ORANGE STORAGE Registration. Registrants typically file a Section 15
21 Declaration with a Section 8 Declaration if the registered mark had been in continuous use in
22 United States commerce for five consecutive years after the date of registration. Defendant’s
23 failure to file a Section 15 Declaration indicates Defendant had not used the ORANGE
24 STORAGE mark since obtaining the mark from IEP in 2018.
25          57.    As shown below and in Exhibit K, as late as March 9, 2022, Defendant’s The
26 Organized Life blog did not display the ORANGE STORAGE mark:
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             58.    However, based on U-Haul’s investigation and on information and belief,
12
     shortly before Defendant filed is Section 8 Declaration in connection with the ORANGE
13
     STORAGE Registration on June 6, 2022, Defendant added the ORANGE STORAGE mark
14
     to its The Organized Life blog. Defendant then submitted a printout of the blog captured on
15
     May 12, 2022, as the specimen of use with its Section 8 Declaration in which Defendant
16
     declared under penalty of perjury pursuant to 18 U.S.C. §1001 that the ORANGE STORAGE
17
     mark was in use in United States commerce in connection with the services recited in the
18
     Registration (“providing self-storage facilities for others.”) A true and correct copy of
19
     Defendant’s Section 8 Declaration attached hereto as Exhibit L and an image of the purported
20
     use of the ORANGE STORAGE mark submitted with the Declaration is included below:
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             59.   In connection Defendant’s Section 8 Declaration, Defendant submitted the
15
     Declaration of Steven C. Babinski, Defendant’s Associate General Counsel, Corporate &
16
     Securities, declaring that that the ORANGE STORAGE mark was in bona fide use in United
17
     States commerce in connection with “providing self-storage facilities for others.” (see
18
     Exhibit L.)
19
             60.   As shown below and in Exhibit M attached hereto, less than a month after
20
     filing its Section 8 Declaration, Defendant removed the ORANGE STORAGE mark from its
21
     The Organized Life blog:
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              61.    On information and belief, Defendant temporarily added the ORANGE
15
     STORAGE mark to its The Organized Life blog solely for the purpose of creating a specimen
16
     of use to submit with Defendant’s Section 8 Declaration. Such manufactured and temporary
17
     use of the ORANGE STORAGE mark does not constitute bona fide use of the mark in
18
     connection with the services recited in the registration sufficient to maintain the registration.
19
              62.    Based on U-Haul’s investigation and on information and belief, Defendant,
20
     through Mr. Babinski, knowingly and with intent to deceive the USPTO, falsely represented
21
     in Defendant’s Section 8 Declaration that the ORANGE STORAGE mark was in bona fide
22
     use in United States commerce in connection with the services recited in the Registration,
23
     when it was not.
24
              63.    As a result of Defendant’s submission of the foregoing fraudulent Section 8
25
     Declaration, on November 23, 2022, the USPTO relied upon Defendant’s deceptive and
26
     fraudulent representations in accepting Defendant’s Section 8 Declaration and maintained the
27
28
                                                    47
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 1 ORANGE STORAGE Registration. A true and correct copy of the acceptance is attached
 2 hereto as Exhibit N.
 3           64.    Furthermore, Defendant has ceased use of the ORANGE STORAGE mark in
 4 commerce and, on information and belief, has no intent to resume such use. Therefore,
 5 Defendant has abandoned the ORANGE STORAGE mark.
 6
       Defendant’s Deceptive and Fraudulent Maintenance of its Registration for the
 7    ORANGE IS THE NEW SIZE Mark (Reg. No. 5197479) Asserted Against U-Haul
 8           65.    On August 29, 2016, IEP also filed an application to register the ORANGE
 9 IS THE NEW SIZE mark (Ser. No. 87154001) for “Providing self-storage facilities for
10 others” in Class 39 based on an intent to use the mark in connection with those services. A
11 true and correct copy of this application is attached hereto as Exhibit O.
12           66.    Based upon U-Haul’s investigation and on information and belief, the
13 ORANGE IS THE NEW SIZE mark was adopted and presented by IEP as the slogan
14 promoting IEP’s new concept of flexible storage solutions to its commercial clients working
15 in the oil exploration sector.
16           67.    On March 15, 2017, IEP filed a Statement of Use in connection with the
17 application alleging first use of the mark on March 1, 2016 and submitting a specimen of use
18 showing use of the ORANGE IS THE NEW SIZE mark. A true and correct copy of the
19 Statement of Use is attached hereto as Exhibit P.
20           68.    The USPTO accepted IEP’s Statement of Use, and on May 2, 2017 issued a
21 registration for the ORANGE IS THE NEW SIZE mark to IEP (Reg. No. 5197479) for
22 “Providing self-storage facilities for others” in in Class 39 (the “ORANGE IS THE NEW
23 SIZE Registration”). A true and correct copy of the registration certificate for the ORANGE
24 IS THE NEW SIZE mark is attached hereto as Exhibit Q.
25           69.    On November 19, 2018, IEP assigned the ORANGE IS THE NEW SIZE to
26 Defendant. See Exhibit J.
27           70.    Based on U-Haul’s investigation and on information and belief, Defendant
28 did not use the ORANGE IS THE NEW SIZE mark after obtaining the mark from IEP in
                                                  48
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 1 2018. Facing a May 2, 2023 deadline for filing a Section 8 Declaration required to maintain
 2 the ORANGE IS THE NEW SIZE Registration, Defendant added the ORANGE IS THE
 3 NEW SIZE mark as a section heading to a pre-existing article entitled “Fall Cleaning Tips:
 4 What to Declutter and Store this Season” posted to Defendant’s The Organized Life blog (the
 5 “Fall Cleaning Article”) on Defendant’s website solely to create a specimen of use to submit
 6 with its Section 8 Declaration.
 7          71.    Notably, Defendant did not file a Section 15 Declaration with the Section 8
 8 Declaration it filed in connection with the ORANGE IS THE NEW SIZE Registration.
 9 Defendant’s failure to file a Section 15 Declaration indicates Defendant had not used the
10 ORANGE IS THE NEW SIZE mark since obtaining the mark from IEP in 2018.
11          72.    As shown below and in Exhibit R, prior to adding the ORANGE IS THE
12 NEW SIZE mark as a section heading in the Fall Cleaning Article, the section heading was
13 titled as “A Storage Unit Could Help”:_
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             73.    However, based on U-Haul’s investigation and on information and belief,
 8
     shortly before Defendant filed is Section 8 Declaration in connection with the ORANGE IS
 9
     THE NEW SIZE Registration on April 7, 2023, Defendant replaced the “A Storage Unit
10
     Could Help” heading in the Fall Cleaning Article with the ORANGE IS THE NEW SIZE
11
     mark. Defendant then submitted a printout of the Fall Cleaning Article captured on April 6,
12
     2023 as the specimen of use with its Section 8 Declaration in which Defendant declared under
13
     penalty of perjury pursuant to 18 U.S.C. §1001 that the ORANGE IS THE NEW SIZE mark
14
     was in use in United States commerce in connection with the services recited in the
15
     Registration (“providing self-storage facilities for others.”) A true and correct copy of
16
     Defendant’s Section 8 Declaration is attached hereto as Exhibit S and an image of the
17
     purported use of the ORANGE IS THE NEW SIZE mark submitted with the Declaration is
18
     included below:
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 8            74.   Based on U-Haul’s investigation and on information and belief, Defendant
 9 had not used the ORANGE IS THE NEW SIZE mark in any way other than as a section
10 header in the Fall Cleaning Article, which does not constitute bona fide trademark use of the
11 mark in connection with the services recited in the ORANGE IS THE NEW SIZE registration
12 because a single use as a title of blog post does not constitute bona fide trademark use under
13 the law.
14            75.   In addition, on information and belief, Defendant temporarily added the
15 ORANGE IS THE NEW SIZE mark to the Fall Cleaning Article shortly before the declaration
16 was due solely for the purpose of creating a specimen of use to submit with Defendant’s
17 Section 8 Declaration. Such manufactured and temporary use of the ORANGE IS THE NEW
18 SIZE mark does not constitute bona fide use of the mark in connection with the services
19 recited in the registration sufficient to maintain the registration.
20            76.   Notably, the fraudulent specimen dated April 7, 2023, also shows use of the
21 ORANGE STORAGE mark even though that mark was removed from Public Storage’s blog
22 on July 5, 2022, according to U-Haul’s investigation. Upon information and belief, Defendant
23 inserted the ORANGE STORAGE mark in the blog article submitted to the USPTO to further
24 deceive the USPTO and conceal the fraud being perpetrated by Defendant.
25            77.   In connection with Defendant’s Section 8 Declaration, Defendant submitted
26 the Declaration of Steven C. Babinski, Defendant’s Associate General Counsel, Corporate &
27 Securities, declaring t penalty of perjury pursuant to 18 U.S.C. § 1001 that the ORANGE IS
28
                                                    51
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 1 THE NEW SIZE mark was in bona fide use in United States commerce in connection with
 2 “providing self-storage facilities for others.” (see Exhibit S.)
 3           78.    Based on U-Haul’s investigation and on information and belief, Defendant,
 4 through Mr. Babinski, knowingly and with intent to deceive the USPTO, falsely represented
 5 in Defendant’s Section 8 Declaration that the ORANGE IS THE NEW SIZE mark was in
 6 bona fide use in United States commerce in connection with the services recited in the
 7 Registration, when it was not.
 8           79.    As a result of Defendant’s submission of the foregoing fraudulent Section 8
 9 Declaration, on September 5, 2023, the USPTO relied upon Defendant’s deceptive and
10 fraudulent representations in accepting Defendant’s Section 8 Declaration and maintained the
11 ORANGE IS THE NEW SIZE Registration. A true and correct copy of the acceptance is
12 attached hereto as Exhibit T.
13           80.    In addition, based on U-Haul’s investigation and on information and belief,
14 prior to April 6, 2023, which is the day on which Defendant captured the Fall Cleaning Article
15 for use as the specimen of use for the Section 8 Declaration for the ORANGE IS THE NEW
16 SIZE Registration, the ORANGE STORAGE mark did not appear in the Fall Cleaning
17 Article. However, upon investigation and on information and belief, Defendant added the
18 ORANGE STORAGE mark to the Fall Cleaning Article for the version captured for the
19 specimen of use, and then removed the mark from the Fall Cleaning Article shortly thereafter
20 as shown below and in Exhibits S, U, and V.
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 1                       Fall Cleaning Article Prior to April 6, 2023
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14             Fall Cleaning Article on April 6, 2023 (used as Sec. 8 specimen)
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     Case 2:24-cv-03160-MTL        Document 13      Filed 12/20/24   Page 54 of 80




 1                     Fall Cleaning Article After Filing Sec. 8 Declaration
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             81.    Upon information and belief, Defendant added the ORANGE STORAGE
17
     mark to the version of the Fall Cleaning Article used for the specimen of use for the Section
18
     8 Declaration for the ORANGE IS THE NEW SIZE mark in an attempt to conceal its
19
     fraudulent and improper addition and then removal of the mark from Defendant’s The
20
     Organized Life blog described above.
21
             82.    Furthermore, Defendant has ceased use of the ORANGE IS THE NEW SIZE
22
     mark in commerce and, on information and belief, has no intent to resume such use.
23
     Therefore, Defendant has abandoned the ORANGE IS THE NEW SIZE mark.
24
25       Defendant’s Abandonment of the ORANGE DOOR STORAGE INSURANCE

26                      PROGRAM and Design Mark (Reg. No. 5697799)

27           83.    On October 6, 2016, Defendant filed an application, a copy of which is

28 attached hereto as Exhibit W with the USPTO to register the ORANGE DOOR STORAGE
                                                  54
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 1 INSURANCE PROGRAM and Design mark pictured below (the “Orange and Purple
 2 Insurance Mark”) for “Tenant storage insurance program, namely, insurance underwriting,
 3 administration and claims management services for insurance program offering insurance
 4 coverage to tenants for their contents stored at self-storage facilities” in Class 35 and “and
 5 “Tenant storage insurance program, namely, insurance underwriting and administration
 6 services for insurance program offering insurance coverage to tenants for their contents stored
 7 at self-storage facilities” in Class 36 based on an intent to use the mark in connection with
 8 those services:
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             84.     On December 12, 2018, Defendant filed a Statement of Use, a copy of which
15
     is attached hereto as Exhibit X in connection with the application with a specimen of use
16
     showing the following use of the Orange and Purple Insurance Mark and alleging the mark
17
     was first used in United States commerce in connection with the services recited in the
18
     application on October 1, 2016:
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 1           85.    The USPTO accepted Defendant’s Statement of Use, and, on March 12, 2019,
 2 issued a registration for the Orange and Purple Insurance Mark (Reg. No. 5697799) for
 3 “Tenant storage insurance program, namely, insurance claims management services for
 4 insurance program offering insurance coverage to tenants for their contents stored at self-
 5 storage facilities” in Class 35 and “Tenant storage insurance program, namely, insurance
 6 underwriting and administration services for insurance program offering insurance coverage
 7 to tenants for their contents stored at self-storage facilities” in Class 36. A true and correct
 8 copy of the registration certificate is attached hereto as Exhibit Y.
 9           86.    Subsequently, in July 2024, Defendant filed the following two applications to
10 register new versions of the ORANGE DOOR STORAGE INSURANCE PROGRAM mark
11 (collectively, the “New Orange and Blue Insurance Marks”) with a new design element and
12 claiming the colors orange and blue rather than the colors orange and purple:
13            Mark                Ser. No.       Filing            Goods and Services
                                                 Date
14                               98637909       Jul. 08,   Class 35: Insurance claims
                                                 2024      auditing services; Insurance claims
15                                                         auditing services in the fields of
16                                                         renters insurance, tenant insurance,
                                                           and storage insurance
17
18                                                         Class 36: Insurance claims
                                                           processing; Insurance claims
19                                                         management services; Insurance
                                                           information and consultancy;
20                                                         Insurance underwriting and
21                                                         administration; Insurance
                                                           underwriting, issuing, and
22                                                         administration services; Insurance
23                                                         claims processing in the fields of
                                                           renters insurance, tenant insurance,
24                                                         and storage insurance; Insurance
                                                           claims management services in the
25                                                         fields of renters insurance, tenant
26                                                         insurance, and storage insurance;
                                                           Insurance underwriting and
27                                                         administration in the fields of
                                                           renters insurance, tenant insurance,
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                                                  56
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 1            Mark                Ser. No.     Filing             Goods and Services
 2                                             Date
                                                         and storage insurance; Insurance
 3                                                       underwriting, issuing, and
                                                         administration services in the fields
 4
                                                         of renters insurance, tenant
 5                                                       insurance, and storage insurance
                                 98637904     Jul. 08,   Class 35: Insurance claims
 6                                             2024      auditing services; Insurance claims
 7                                                       auditing services in the fields of
                                                         renters insurance, tenant insurance,
 8                                                       and storage insurance
 9
                                                         Class 36: Insurance claims
10                                                       processing; Insurance claims
                                                         management services; Insurance
11                                                       information and consultancy;
12                                                       Insurance underwriting and
                                                         administration; Insurance
13                                                       underwriting, issuing, and
                                                         administration services; Insurance
14
                                                         claims processing in the fields of
15                                                       renters insurance, tenant insurance,
                                                         and storage insurance; Insurance
16                                                       claims management services in the
17                                                       fields of renters insurance, tenant
                                                         insurance, and storage insurance;
18                                                       Insurance underwriting and
                                                         administration in the fields of
19                                                       renters insurance, tenant insurance,
20                                                       and storage insurance; Insurance
                                                         underwriting, issuing, and
21                                                       administration services in the fields
22                                                       of renters insurance, tenant
                                                         insurance, and storage insurance
23
24          87.    Based on U-Haul’s investigation and on information and belief, Defendant

25 has ceased its use of the Orange and Purple Insurance Mark and is now using one or both of
26 the New Orange and Blue Insurance Marks as shown below and in Exhibit Z attached hereto:
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             88.    Defendant itself has admitted that it ceased use of the Orange and Purple
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     Insurance Mark as of 2023 and replaced it with the New Orange and Blue Insurance Marks
14
     with a prominent announcement of such transition on its “Our History” page of its website,
15
     www.orangedoorstorageinsurance.com, as shown below and in Exhibit AA attached hereto:
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 1
 2           89.    This change in the appearance of the ORANGE DOOR STORAGE
 3 INSURANCE PROGRAM mark is consistent with Defendant’s overall shift away from the
 4 use of marks displaying the colors purple and orange detailed above.
 5           90.    Based on U-Haul’s investigation and on information and belief, Defendant
 6 has abandoned the Orange and Purple ORANGE DOOR STORAGE Mark with no intent to
 7 resume such use of the Mark.
 8
      Extensive and Nationwide Third-Party Use of the Color Orange in Connection with
 9    Self-Storage Services Undercuts Defendant’s Claim to Exclusive Rights to the Color
                                           Orange
10
11           91.    Any claim by Defendant that it has any kind of exclusive right to use the color
12 orange in connection with self-storage services, that the color has acquired distinctiveness for
13 Defendant’s self-storage services, and/or that other self-storage service providers’ use of the
14 color orange violates any alleged right of Defendant is severely undercut by the fact that there
15 are hundreds of third-party self-storage providers that use the color orange in connection with
16 their self-storage services.
17           92.    These third-party self-storage providers utilize the color orange in a wide
18 array of formats on their self-storage facilities, signage, and other marketing materials,
19 examples of which are pictured below and in Exhibit CC attached hereto.
20
21        Palmdale, California              Killeen, Texas              Lawton, Oklahoma

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 1        Indianapolis, Indiana          Middletown, Texas             Ellisville, Missouri
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          Hamden, Connecticut           Summerfield, Florida         Michigan City, Indiana
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16           93.    This extensive, widespread nationwide use of the color orange in connection

17 with self-storage services, including U-Haul’s longstanding and nationwide use of the color
18 orange in connection with its Self-Moving and Storage Services, demonstrates that the color
19 when used in connection with such services does not and cannot function as a source identifier
20 for any one particular self-storage service provider. While consumers may, and likely do,
21 associate the color orange with self-storage services, they do not associate the color with a
22 single provider of those services. As such, Defendant cannot plausibly claim the color, or any
23 particular application of the color, has acquired distinctiveness as an indicator of Defendant’s
24 services. As such, Defendant’s claims that the color orange has acquired distinctiveness for its
25 services are improper and false. Defendant is attempting to pull a fast one on the USPTO,
26 bootstraping an unsustainable claim of ownership of the color orange, and bullying other long-
27 time users of orange trade dress.
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 1           94.    Given the extensive third-party use of the color orange in connection with self-
 2 storage services, in April 2024, U-Haul filed Letters of Protest, copies of which are attached
 3 as Exhibit BB attached hereto, with the USPTO against Defendant’s application Ser. Nos.
 4 88623084, 88623068, 88623262, 88746009, 88623145, 88623045, and 88746025 to register
 5 the following orange trade dress below. The Letters of Protest informed the USPTO of the
 6 extensive use of the color orange in connection with self-storage services and facilities to
 7 provide the USPTO with facts necessary for it to determine whether Defendant’s purported
 8 trademarks for orange building features, signage and displays failed to function as a source
 9 identifier for Defendant’s services recited in the subject applications:
10
11                 Mark                Ser. No.                 Goods and Services
                                      88623084 Class 39: Providing self-storage facilities for
12
                                               others; renting and leasing of private storage
13                                             spaces; renting and leasing of climate-
                                               controlled storage spaces; storage of goods
14
15   The mark consists of the color
     orange as used in connection
16   with self-storage services as
     applied on buildings, signage,
17
     awnings,             canopies,
18   furnishings, displays, and
     countertops.
19
20
                                      88623068 Class 39: Providing self-storage facilities for
21                                             others; Renting and leasing of private storage
                                               spaces with limited access; Renting and leasing
22                                             of climate-controlled storage spaces with
23                                             limited access; storage of goods

24
                                      88623262 Class 39: Providing self-storage facilities for
25                                             others; Renting and leasing of storage spaces;
26                                             Storage of goods

27
28
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 1                Mark                Ser. No.                  Goods and Services
 2
 3
 4
 5
 6
 7                                    88746009 Class 39: Providing self-storage facilities for
 8                                             others; Renting and leasing of private storage
                                               spaces; Renting and leasing of climate-
 9                                             controlled storage spaces; Storage of goods
10
11                                    88623145 Class 39: Providing self-storage facilities for
                                               others; Renting and leasing of private storage
12                                             spaces; Renting and leasing of climate-
                                               controlled storage spaces; Storage of goods
13
14
     The mark consists of the color
15   orange as applied to business
     signage
16
17
                                      88623045 Class 39: Providing self-storage facilities for
18                                             others; Renting and leasing of private storage
                                               spaces; Renting and leasing of climate-
19                                             controlled storage spaces; Storage of goods
20
21                                    88746025 Class 39: Providing self-storage facilities for
                                               others; Renting and leasing of private storage
22
                                               spaces; Renting and leasing of climate-
23                                             controlled storage spaces; Storage of goods

24          95.    In support of the letters of protest, U-Haul submitted printouts from the website
25 https://everyoneusesorangestoragedoors.com/, the domain for which U-Haul registered and
26 which U-Haul created and operates. The contents of those website printouts demonstrated that
27 the color orange is used by hundreds of independent locations owned by third parties that
28
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 1 provide self-storage facilities around the country, and that such evidence is relevant to the
 2 issues of whether Defendant’s applied for trade dress functions as a source identifier and
 3 whether Defendant has substantially exclusive use of the applied for trade dress. See Exhibits
 4 BB and CC.
 5           96.      Specifically, the evidence submitted with the letters of protest identifies, by
 6 way of example only, the following:
 7
             • More than 800 independent locations using orange on their buildings (including
 8             on the storage doors on the outside of the building) in connection with storage
               services; and
 9
10           •     More than 200 independent locations using orange signage, awnings, canopies,
                   displays and the like in connection with storage services.
11
     See Exhibit BB.
12
             97.      The USPTO issued Letter of Protest Memorandums in connection with
13
     Defendant’s application Ser. Nos. 88623084 and 88623068 stating that the evidence submitted
14
     with U–Haul’s Letters of Protest is relevant to the Examining Attorney’s refusal to register the
15
     applied-for trade dress on the ground that the trade dress is a non-distinctive color mark that
16
     does not function as a service mark. Copies of the USPTO’s Letter of Protest Memorandums
17
     are attached hereto as Exhibit DD.
18
19        DEFENDANT’S ALLEGATIONS OF INFRINGEMENT, DILUTION, AND
         DEMANDS THAT U-HAUL CEASE ITS USE OF THE COLOR ORANGE IN
20               CONNECTION WITH SELF-STORAGE SERVICES
21
             98.      In addition to seeking to register, obtaining registrations, and fraudulently
22
     maintain registrations for various trade dress and service marks that incorporate the color
23
     orange and word marks containing the word ORANGE for self-storage and related services
24
     based on improper claims the color has acquired distinctiveness for such marks for Defendant’s
25
     services, Defendant has taken additional steps to improperly seek to exclude others from using
26
     the color orange in connection with the same or similar services.
27
28
                                                    63
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 1          99.    On May 26, 2020, Defendant filed a Petition for Cancellation with the USPTO
 2 Trademark Trial and Appeal Board (Cancellation Proceeding No. 92074328, the “Cancellation
 3 Proceeding”) seeking the cancellation of U-Haul’s Registration No. 2286782 (“U-Haul’s
 4 Orange Door Registration”) for the trade dress below that depicts ten windows arranged along
 5 two perpendicular edges of a building with orange storage doors visible through the windows
 6 (“U-Haul’s Orange Door Trade Dress”), reciting “retail store services featuring packaging and
 7 moving supplies” in Class 35 and “self-storage services; rental of moving vans and trucks” in
 8 Class 39:
 9
10
11
12
13 A copy of Defendant’s Petition for Cancellation is attached hereto as Exhibit EE.
14          100.   In its Petition, Defendant alleged that it possessed prior rights in the “Orange
15 Door Trade Dress” and “Orange Window Design Trade Dress” pictured below and that the
16 continued registration of U-Haul’s Orange Door Trade Dress is likely to cause confusion with
17 Defendant’s alleged prior rights:
18
             Defendant’s Alleged Orange               Defendant’s Alleged Orange Window
19
                   Door Trade Dress                            Design Trade Dress
20
21
22
23
24          101.   The parties engaged in several years of settlement negotiations, including the
25 exchange of multiple drafts of a settlement agreement. Public Storage maintained throughout
26 these negotiations that U-Haul’s Orange Door Trade Dress was confusingly similar to Public
27 Storage’s alleged Orange Door Trade Dress.
28          102.   Also during that time, Public Storage revealed its scheme to U-Haul.
                                                 64
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 1            103.   Among other things, Public Storage represented to U-Haul that it was
 2 originally trying to cancel U-Haul’s registration so it could get its own orange registrations to
 3 go after the “mom-and-pop” small proprietor storage facilities that use the color orange to
 4 exclude the third-party proprietors from being able to use the color orange in connection with
 5 such self-storage services. Public Storage wanted U-Haul to join this improper scheme.
 6            104.   Among other things, during the negotiations, Public Storage tried to entice U-
 7 Haul into entering into a licensing arrangement that furthered Public Storage’s scheme to go
 8 after these mom-and-pop storage facilities. However, U-Haul refused to be a party to this
 9 scheme and the parties settlement negotiations broke down.
10            105.   Upon information and belief, Defendant’s improper efforts to exclude others
11 from using the color orange is also evidenced by Defendant’s efforts to send cease and desist
12 letters to other third-party self-storage providers demanding that they discontinue using the
13 color orange. Defendant’s trademark enforcement efforts are so robust and sophisticated that
14 it has outsourced such activities to a third-party consultant that specializes in such enforcement
15 efforts.
16            106.   Defendant’s improper efforts to exclude others from using the color orange is
17 further demonstrated by the fact that on May 16, 2023, Defendant sent U-Haul’s sister
18 company, Repwest Insurance Company (“Repwest”), which offers insurance for self-storage
19 units, an email alleging that Repwest was using the mark ORANGE DOOR STORAGE
20 INSURANCE PROGRAM on its website https://www.ponderosainsurance.com/ and that such
21 use creates and is likely to continue to cause consumer confusion as to the source of Repwest’s
22 insurance services. A copy of Defendant’s email is attached hereto as Exhibit GG. However,
23 Repwest was not and is not using the mark ORANGE DOOR STORAGE INSURANCE
24 PROGRAM.
25            107.   Upon information and belief, Repwest’s use of the PONDEROSA and Orange
26 Door design mark pictured below, for which Repwest owns a registration (Reg. No. 5296154),
27 prompted Defendant’s letter:
28
                                                   65
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 1
 2
 3
 4           108.   In response to Defendant’s email, Repwest sought clarification from
 5 Defendant concerning whether Defendant objected to Repwest’s use of the PONDEROSA and
 6 Orange Door design mark pictured above and also noted the given Repwest’s relation to U-
 7 Haul, its promotional material relating to self-storage insurance services will include orange-
 8 colored doors. See Exhibit GG. Repwest did not receive a reply from Defendant.
 9           109.   On March 15, 2024, one business day prior to the deadline for U-Haul to
10 respond to Defendant’s Petition for Cancellation, Defendant unilaterally withdrew its Petition
11 without prejudice. A copy of Defendant’s withdrawal is attached hereto as Exhibit FF.
12           110.   That same day, Public Storage’s Chief Legal Officer emailed U-Haul’s
13 General Counsel informing her that Public Storage had decided to withdraw its Cancellation
14 Action filed against U-Haul’s Registration “[a]s a good faith gesture to show our goal is not to
15 disrupt U-Haul’s business, and to allow room to continue opportunity for settlement
16 negotiations outside any proceeding[.]” He further stated that Public Storage was “hopeful
17 that we can still move this forward in a productive manner and to address each other’s
18 concerns.”
19           111.   Even though it withdrew its Petition for Cancellation, there was absolutely no
20 resolution reached between the parties. In fact, Public Storage acknowledged as much by
21 claiming that there were still “concerns” the parties needed to resolve—i.e., that even though
22 Public Storage withdrew its Petition for Cancellation (without prejudice), this withdrawal did
23 not resolve the underlying dispute concerning Public Storage’s contention that U-Haul’s
24 Orange Door Trade Dress is confusingly similar to Public Storage’s alleged Orange Door
25 Trade Dress.
26           112.   Despite claiming that it still believed there were issues to resolve and that it
27 wanted to continue settlement discussions, Public Storage went radio silent. For nearly five
28
                                                  66
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 1 years, U-Haul has operated under a cloud of uncertainty, wondering if and when Public Storage
 2 would next come after it.
 3          113.   That day came on July 24, 2024. Defendant sent U-Haul an email, a copy of
 4 which is attached hereto as Exhibit HH (the “July 24 Email”), concerning the website
 5 https://everyoneusesorangestoragedoors.com/ website claiming that U-Haul is “using
 6 ORANGE in connection with self-storage goods or services at the Domain Name and Website
 7 without authorization.”
 8          114.   The July 24 Email further made the following allegations:
 9
            • U-Haul’s “unauthorized use of the ORANGE Marks or a confusingly similar
10            variation thereof for self-storage goods or services constitutes at least trademark
              infringement and dilution in violation of federal and state trademark laws, and is
11            likely to cause confusion, mistake and deception as to the potential existence of
12            an affiliation, connection or association between you and Public Storage where
              none exists.”
13
14          • U-Haul’s “use of the ORANGE Marks in the Domain Name also violates the
              ICANN Uniform Domain Name Dispute Resolution Policy to which the Domain
15            Name is subject, since you have no trademark rights or interest in the ORANGE
              Marks or any confusingly similar version thereof, and are using such marks for
16
              commercial gain.”
17
            • U-Haul’s “actions also violate the Anticybersquatting Consumer Protection Act
18            (15 U.S.C. §1125(d)) - a federal statute which provides a cause of action with
19            respect to those who, with a bad faith intent to profit, register or traffic in or use
              domain names that are identical or confusingly similar to the trademarks of others.
20
     See Exhibit HH.
21
            115.  In the July 24 Email, Defendant also demanded that U-Haul do the following:
22
            • Cease and desist from any and all use of the ORANGE Marks and orange color,
23            including any misspellings or similarly confusing versions thereof, in the Domain
              Name and on the Website.
24
25          •   Remove any and all references to the word ORANGE and any misspellings or
                confusingly similar versions thereof from any meta tags, HTML code, keyword
26              files, SEO tags, domain names, social media content or handles, and text or other
                advertising materials associated with you or your business.
27
     See Exhibit HH.
28
                                                  67
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 1           116.   In the July 24 Email, Defendant provides the following description of its
 2 alleged orange marks (collectively, “Defendant’s Alleged Orange Marks”) as the basis for its
 3 allegations and demands in the July 24 Email:
 4           Public Storage is the owner of numerous trademarks, including but not
             limited to, the ORANGE STORAGE®, ORANGE DOOR STORAGE
 5           INSURANCE PROGRAM®, BEHIND THE ORANGE DOORS®, and
 6           ORANGE IS THE NEW SIZE® trademarks (“ORANGE Marks”). Public
             Storage owns exclusive trademark rights to the ORANGE Marks as a result
 7           of numerous trademark registrations, as well as its related common law
             rights, including U.S. Reg. Nos. 5,083,797, 5,197,479, 5,697,798, 5,697,799,
 8
             and 6,598,358. The ORANGE Marks are well known among consumers and
 9           embody substantial and valuable goodwill. As such, the ORANGE Marks
             are a valuable asset, and their protection is very important to Public Storage.
10           Public Storage also has an obligation to consumers and those in the industry
11           to police against the unauthorized registration and use of its marks, or marks
             similar thereto, and prevent consumer confusion.
12
13           117.   Notably, in the July 24 Email, Defendant asserts its registrations for the
14 ORANGE STORAGE, ORANGE IS THE NEW SIZE, and ORANGE DOOR STORAGE
15 INSURANCE PROGRAM and Design marks (Reg. Nos. 5083797, 5197479, and 5697799),
16 which Defendant has fraudulently maintained (ORANGE STORAGE and ORANGE IS THE
17 NEW SIZE) or abandoned (ORANGE DOOR STORAGE INSURANCE PROGRAM and
18 Design) as set forth above. This is further evidence of Defendant’s improper and overreaching
19 efforts to exclude others from using the color orange and/or trademarks containing the term
20 ORANGE.
21           118.   U-Haul      denies     that    its     registration      and    use        of   the
22 <everyoneusesorangestoragedoors.com>                 domain,       operation           of        the
23 https://everyoneusesorangestoragedoors.com/ website, and/or use of the color orange and/or
24 the word “orange” in connection with U-Haul Businesses’ self-storage services violate any
25 federal, state, or common law rights that Defendant claims to possess.
26           119.   First, as described above, given the extensive use of the color orange in the
27 promotion of and on self-storage facilities by hundreds of self-storage providers, including U-
28 Haul’s longstanding and nationwide use, it is clear that the color when used in connection with
                                                   68
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 1 such storage services does not and cannot function as a source identifier for any one particular
 2 self-storage service provider, including Defendant. Therefore, Defendant’s claims that the
 3 color orange has acquired distinctiveness for its services and/or that it has an exclusive right
 4 to use the color in connection with self-storage services are improper.
 5           120.   Moreover, U-Haul’s use of the color orange and references to the color in
 6 connection with its self-storage services is not new or a recent development. As detailed above,
 7 U-Haul has extensively used the color orange in connection with the sale and promotion of its
 8 self-storage services on a nationwide basis for decades without any evidence of such use
 9 causing confusion as to the source of those services.
10           121.   Furthermore, Defendant’s alleged Orange Marks are not famous within the
11 meaning of dilution law, and did not become famous prior to U-Haul’s first use of the color
12 orange in connection with its self-storage services, and therefore do not qualify for dilution
13 protection. Further, even assuming that Defendant could somehow establish that its Alleged
14 Orange Marks are famous for purposes of dilution, U-Haul’s use of the color orange and the
15 word “orange” is not likely to cause dilution of Defendants’ alleged Orange Marks, either
16 through dilution by blurring or dilution by tarnishment.
17           122.   In addition, even if Defendant possessed any kind of protectable right in the
18 color orange and/or the term “orange” relating to self-storage services, any use of or reference
19 to the color orange and/or term “orange” within the < everyoneusesorangestoragedoors.com>
20 domain and the content of the https://everyoneusesorangestoragedoors.com/ website clearly
21 constitutes a fair use in that the website describes the hundreds of third-party self-storage
22 providers that use the color orange in connection with their services and also serves as criticism
23 of Defendant’s improper attempt to claim exclusive rights to the color orange in connection
24 with self-storage services and/or that the color has acquired distinctiveness for Defendant’s
25 self-storage services. See Exhibit CC.
26           123.   The July 24 Email makes clear that Defendant believes U-Haul’s use of the
27 color orange and/or term “orange” infringes and dilutes Defendant’s alleged Orange Marks.
28 However, Defendant’s demands for U-Haul to cease such use are improper given Defendant’s
                                                   69
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 1 lack of any exclusive right to use the color orange and/or the term “orange” in connection with
 2 self-storage services. Defendant’s demands and its threat to take legal action against U-Haul
 3 if U-Haul does not comply with Defendant’s demands clearly creates an immediate and
 4 substantial controversy between the parties, and any such legal action would be unjustified and
 5 wrongly interfere with U-Haul’s rightful ability to continue its normal business actions.
 6           124.    As a result of Defendant’s actions as set forth in this Amended Complaint,
 7 including its (i) improper claims to exclusive rights to the color orange and the term “orange”
 8 in connection with self-storage services, (ii) unresolved “concerns” regarding U-Haul’s use
 9 and registration of the color orange; (iii) submission of fraudulent and manufactured evidence
10 of bona fide use of its ORANGE trademarks to the USPTO in order maintain trademark
11 registrations used to bully others from using the color and term “orange” in connection with
12 self-storage services; (iv) transition from its orange and purple trade dress colors to the color
13 orange with a hue more closely similar to U-Haul’s trade dress color; and (v) demands for U-
14 Haul to cease its use of the color orange and the term “orange,” a clear substantial and
15 immediate controversy exists between the parties that is ripe for adjudication relating to U-
16 Haul’scontinued use of the color orange and the term “orange” in connection with the
17 https://everyoneusesorangestoragedoors.com/ website and U-Haul’s business, including in
18 connection with its self-storage services, and including on its signage, on its buildings, on its
19 website uhaul.com and on its application.
20                                             COUNT I
21                  Non-Violation of the Lanham Act Section 32, 15 U.S.C. § 1114
22           125.    U-Haul incorporates is prior allegations as though fully set forth herein.
23           126.    As the first ground for relief U-Haul seeks a declaration of non-violation of
24 Section 32 of the Lanham Act, 15 U.S.C. § 1114, as to federal trademark infringement.
25           127.    U-Haul’s use of the color orange and the term “orange” in connection with the
26 https://everyoneusesorangestoragedoors.com/ website and U-Haul’s business, including in
27 connection with its self-storage services, and including on its signage, on its buildings, on its
28 website uhaul.com and on its application, is not likely to cause confusion, mistake or deception
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 1 as to the source or sponsorship of U-Haul’s services, and does not violate Section 32 of the
 2 Lanham Act, 15 U.S.C. § 1114, with respect to any of Defendant’s alleged rights.
 3           128.   Defendant’s assertion of its alleged Orange Marks and demand for U-Haul to
 4 cease its use of the color orange and the term “orange” creates a clear substantial and
 5 immediate controversy between the parties that is ripe for adjudication.
 6                                            COUNT II
 7             Non-Violation of the Lanham Act Section 43(a), 15 U.S.C. § 1125(a)
 8           129.   U-Haul incorporates is prior allegations as though fully set forth herein .
 9           130.   As the second ground for relief U-Haul seeks a declaration of non-violation of
10 Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a), as to false designation of origin and
11 federal unfair competition.
12           131.   U-Haul’s use of the color orange and the word “orange” in connection with the
13 https://everyoneusesorangestoragedoors.com/ website and U-Haul’s business, including in
14 connection with self-storage services, and including on its signage, on its buildings, on its
15 website uhaul.com and on its application, does not constitute a false designation of origin or
16 federal unfair competition, is not likely to cause confusion, or to cause mistake, or to deceive
17 as to the affiliation, connection, or association of U-Haul with Defendant, or as to the origin,
18 sponsorship, or approval of U-Haul’s services, and does not violate Section 43(a) of the
19 Lanham Act, 15 U.S.C. § 1125(a).
20           132.   Defendant’s assertion of its alleged Orange Marks and demand for U-Haul to
21 cease its use of the color orange and the term “orange” creates a clear substantial and
22 immediate controversy between the parties that is ripe for adjudication.
23                                           COUNT III
24                   Non-Violation of Lanham Act 43(a), 15 U.S.C. § 1125(c)
25           133.   U-Haul incorporates is prior allegations as though fully set forth herein .
26           134.   As the third ground for relief U-Haul seeks a declaration of non-violation of
27 Section 43(c) of the Lanham Act, 15 U.S.C. § 1125(c), as to dilution.
28
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 1            135.   Defendant’s alleged Orange Marks are not famous under 15 U.S.C. § 1125(c),
 2 and did not become famous prior to U-Haul’s first use of the color orange in connection with
 3 its self-storage services.
 4            136.   U-Haul’s use of the color orange and the word “orange” in connection with the
 5 https://everyoneusesorangestoragedoors.com/ website and U-Haul’s business, including in
 6 connection with its self-storage services, and including on its signage, on its buildings, on its
 7 website uhaul.com and on its application, is not likely to cause dilution of Defendant’s alleged
 8 Orange Marks, either through dilution by blurring under 15 U.S.C. § 1125(c)(2)(B) or dilution
 9 by tarnishment under 15 U.S.C. § 1125(c) (2)(C) and does not violate Section 43(c) of the
10 Lanham Act.
11            137.   Defendant’s assertion of its alleged Orange Marks and demand for U-Haul to
12 cease its use of the color orange and the term “orange” creates a clear substantial and
13 immediate controversy between the parties that is ripe for adjudication.
14                                              COUNT IV
15     Non-Violation of Anticybersquatting Consumer Protection Act, 15 U.S.C. § 1125(d)
16            138.   U-Haul incorporates is prior allegations as though fully set forth herein.
17            139.   As the fourth ground for relief U-Haul seeks a declaration of non-violation of
18 the Anticybersquatting Consumer Protection Act, 15 U.S.C. § 1125(d).
19            140.   Defendant’s alleged Orange Marks are not distinctive and/or famous, and are
20 not entitled to protection.
21            141.   U-Haul’s <everyoneusesorangestoragedoors.com> domain is not confusingly
22 similar to Defendant’s alleged Orange Marks.
23            142.   U-Haul did not register the <everyoneusesorangestoragedoors.com> domain
24 with a bad faith intent to profit from it.
25            143.   U-Haul’s registration and use of the <everyoneusesorangestoragedoors.com>
26 domain does not violate the Anticybersquatting Consumer Protection Act, 15 U.S.C. §
27 1125(d).
28
                                                   72
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 1           144.    Defendant’s assertion of its alleged Orange Marks and demand for U-Haul to
 2 cease its use of the color orange and the term “orange” in connection with
 3 https://everyoneusesorangestoragedoors.com/ website creates a clear substantial and
 4 immediate controversy between the parties that is ripe for adjudication.
 5                                            COUNT V
 6                            Non-Violation of Arizona Common Law
 7           145.   U-Haul incorporates is prior allegations as though fully set forth herein .
 8           146.   As the fifth ground for relief U-Haul seeks a declaration that it is not
 9 committing trademark infringement and/or engaging in unfair competition under Arizona
10 common law.
11           147.   U-Haul’s use of the color orange and the term “orange” in connection with the
12 https://everyoneusesorangestoragedoors.com/ website and U-Haul’s business, including in
13 connection with its self-storage services, and including on its signage, on its buildings, on its
14 website uhaul.com and on its application, does not cause a likelihood of confusion, mistake or
15 deception as to the source or origin of U-Haul’s services, and does not constitute trademark
16 infringement and/or unfair competition.
17           148.   Therefore, U-Haul’s actions do not violate Arizona common law.
18           149.   Defendant’s assertion of its alleged Orange Marks and demand for U-Haul to
19 cease its use of the color orange and the term “orange” creates a clear substantial and
20 immediate controversy between the parties that is ripe for adjudication.
21                                           COUNT VI
22 Cancellation of the ORANGE STORAGE Registration (Reg. No. 5083797), 15 U.S.C. §
23                                               1119
24           150.   U-Haul incorporates is prior allegations as though fully set forth herein.
25           151.   This is a claim for cancellation of United States Registration No. 5083797 (the
26 ORANGE STORAGE Registration”) under 15 U.S.C. § 1119.
27           152.   Based on U-Haul’s investigation and on information and belief, Defendant
28 knowingly and with intent to deceive the USPTO, falsely represented in Defendant’s Section
                                                  73
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 1 8 Declaration that it filed in connection with the ORANGE STORAGE Registration that the
 2 ORANGE STORAGE mark was in bona fide use in United States commerce in connection
 3 with the services recited in the Registration, when it was not.
 4           153.   As a result of Defendant’s submission of the foregoing fraudulent Section 8
 5 Declaration, the USPTO relied on Defendant’s false statements, accepted Defendant’s Section
 6 8 Declaration, and maintained the ORANGE STORAGE Registration.
 7           154.   Defendant’s material misrepresentations to the USPTO in connection with the
 8 Section 8 Declaration, were designed to maintain the ORANGE STORAGE Registration when
 9 the registered mark was not in use in United States commerce, and constituted fraud on the
10 USPTO that justifies cancellation of the ORANGE STORAGE Registration pursuant to 15
11 U.S.C. § 1119.
12           155.   In addition, Defendant has ceased use of the ORANGE STORAGE mark in
13 commerce and, on information and belief, has no intent to resume such use. Therefore,
14 Defendant has abandoned the ORANGE STORAGE mark. Accordingly, the ORANGE
15 STORAGE Registration should be cancelled in its entirety due to Defendant’s abandonment
16 of the mark pursuant to 15 U.S.C. § 1119.
17           156.   U-Haul has been, and will continue to be, harmed by the continued registration
18 of the ORANGE STORAGE Registration as Defendant relies in part on this Registration as
19 the basis for its infringement and dilution allegations against U-Haul in its July 24 Email.
20           157.   In view of the foregoing, the ORANGE STORAGE Registration should be
21 cancelled in its entirety pursuant to 15 U.S.C. § 1119.
22                                           COUNT VII
23   Cancellation of the ORANGE IS THE NEW SIZE Registration (Reg. No. 5197479), 15
24                                          U.S.C. § 1119
25           158.   U-Haul incorporates is prior allegations as though fully set forth herein.
26           159.   This is a claim for cancellation of United States Registration No. 5197479 (the
27 ORANGE IS THE NEW SIZE Registration”) under 15 U.S.C. § 1119.
28
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 1           160.   Based on U-Haul’s investigation and on information and belief, Defendant
 2 knowingly and with intent to deceive the USPTO, falsely represented in Defendant’s Section
 3 8 Declaration it filed in connection with the ORANGE IS THE NEW SIZE Registration that
 4 the ORANGE IS THE NEW SIZE mark was in bona fide use in United States commerce in
 5 connection with the services recited in the Registration, when it was not.
 6           161.   As a result of Defendant’s submission of the foregoing fraudulent Section 8
 7 Declaration, the USPTO relied on Defendant’s false statements, accepted Defendant’s Section
 8 8 Declaration, and maintained the ORANGE IS THE NEW SIZE Registration.
 9           162.   Defendant’s material misrepresentations to the USPTO in connection with the
10 Section 8 Declaration, were designed to maintain the ORANGE IS THE NEW SIZE
11 Registration when the registered mark was not in use in United States commerce, and
12 constituted fraud on the USPTO that justifies cancellation of the ORANGE IS THE NEW
13 SIZE Registration pursuant to 15 U.S.C. § 1119.
14           163.   In addition, Defendant has ceased use of the ORANGE IS THE NEW SIZE
15 mark in commerce and, on information and belief, has no intent to resume such use. Therefore,
16 Defendant has abandoned the ORANGE IS THE NEW SIZE mark. Accordingly, the
17 ORANGE IS THE NEW SIZE Registration should be cancelled in its entirety due to
18 Defendant’s abandonment of the mark pursuant to 15 U.S.C. § 1119.
19           164.   U-Haul has been, and will continue to be, harmed by the continued registration
20 of the ORANGE IS THE NEW SIZE Registration as Defendant relies in part on this
21 Registration as the basis for its infringement and dilution allegations against U-Haul in its July
22 24 Email.
23           165.   In view of the foregoing, the ORANGE IS THE NEW SIZE Registration
24 should be cancelled in its entirety pursuant to 15 U.S.C. § 1119.
25                                           COUNT VIII
26    Cancellation of the Registration for the ORANGE DOOR STORAGE INSURANCE
27             PROGRAM and Design Mark (Reg. No. 5697799), 15 U.S.C. § 1119
28           166.   U-Haul incorporates is prior allegations as though fully set forth herein.
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 1           167.   On information and belief, Defendant has abandoned the ORANGE DOOR
 2 STORAGE INSURANCE PROGRAM and Design mark that is the subject of Reg. No.
 3 5697799 by discontinuing use of the mark with no intent to resume such use.
 4           168.   U-Haul has been, and will continue to be, harmed by the continued registration
 5 of the ORANGE DOOR STORAGE INSURANCE PROGRAM and Design mark that is the
 6 subject of Reg. No. 5697799 as Defendant relies in part on this Registration as the basis for its
 7 infringement and dilution allegations against U-Haul in its July 24 Email.
 8           169.   In view of the foregoing, Defendant’s Registration No. 5697799 for the
 9 ORANGE DOOR STORAGE INSURANCE PROGRAM and Design mark should be
10 cancelled in its entirety pursuant to 15 U.S.C. § 1119.
11                                    PRAYER FOR RELIEF
12           WHEREFORE, U-Haul respectfully requests that the Court enter judgment in U-
13 Haul’s favor on each count of this Complaint as follows:
14           A.     That the Court declare that U-Haul’s use of the color orange and/or the word
15 “orange” in connection with the https://everyoneusesorangestoragedoors.com/ website and U-
16 Haul Businesses’ services, including in connection with its self-storage services, and including
17 on signage, on buildings, on the website uhaul.com, on mobile applications, and other
18 marketing materials, does not constitute federal trademark infringement in violation of Section
19 32 of the Lanham Act, 15 U.S.C. § 1114, with respect to any alleged rights owned by
20 Defendant.
21           B.     That the Court declare that U-Haul’s use of the color orange and/or the word
22 “orange” in connection with the https://everyoneusesorangestoragedoors.com/ website and U-
23 Haul Businesses’ services, including in connection with its self-storage services, and including
24 on signage, on buildings, on the website uhaul.com, on mobile applications, and other
25 marketing materials, does not constitute federal unfair competition in violation of Section 43(a)
26 of the Lanham Act, 15 U.S.C. § 1125(a), with respect to any alleged rights owned by
27 Defendant.
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 1           C.     That the Court declare that U-Haul’s use of the color orange and/or the word
 2 “orange” in connection with the https://everyoneusesorangestoragedoors.com/ website and U-
 3 Haul Businesses’ services, including in connection with its self-storage services and including
 4 on signage, on buildings, on the website uhaul.com, on mobile applications, and other
 5 marketing materials, does not constitute federal dilution under Section 43(c) of the Lanham
 6 Act, 15 U.S.C. § 1125(c), with respect to any alleged rights owned by Defendant.
 7           D.     That     the     Court     declare     U-Haul’s      registration     of    the
 8 <everyoneusesorangestoragedoors.com> domain does not constitute a violation of the
 9 Anticybersquatting Consumer Protection Act, 15 U.S.C. § 1125(d), with respect to any alleged
10 rights owned by Defendant.
11           E.     That the Court declare that U-Haul’s use of the color orange and/or the word
12 “orange” in connection with the https://everyoneusesorangestoragedoors.com/ website and U-
13 Haul Businesses’ services, including in connection with self-storage services, and including
14 on signage, on buildings, on the website uhaul.com, on mobile application, and other
15 marketing materials, does not constitute trademark infringement and/or unfair competition
16 under Arizona common law with respect to any alleged rights owned by Defendants.
17           F.     That the Court issue an order directing the USPTO to cancel Defendant’s
18 United States Registration No. 5083797 for the ORANGE STORAGE mark.
19           G.     That the Court issue an order directing the USPTO to cancel Defendant’s
20 United States Registration No. 5197479 for the ORANGE IS THE NEW SIZE mark.
21           H.     That the Court issue an order directing the USPTO to cancel Defendant’s
22 United States Registration No. 5697799 for the ORANGE DOOR STORAGE INSURANCE
23 PROGRAM and Design mark.
24           I.     That, because of the exceptional nature of this case, the Court award U-Haul
25 its reasonable attorneys’ fees and costs relating to this action, pursuant to 15 U.S.C. § 1117.
26           J.     That the Court award such other and further relief as this Court deems
27 appropriate.
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 1                                       DEMAND FOR TRIAL BY JURY
 2          Pursuant to Federal Rules of Civil Procedure 38(b), U-Haul hereby demands trial by
 3   jury on all issues so triable.
 4
 5          DATED this 20th day of December, 2024.
 6
 7                                              BARNES & THORNBURG, LLP

 8
                                              By:        /s/ John A. Cullis
 9
                                                    John A. Cullis
10                                                  Lawrence E. James

11
12                                              MURPHY CORDIER CASALE AXEL PLC

13
                                              By:        /s/ Jennifer J. Axel
14                                                  Jennifer J. Axel
15                                                  Maria F. Hubbard
                                                    Attorneys for Plaintiff U-Haul International, Inc.
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 1                              CERTIFICATE OF SERVICE
 2          I certify that on December 20, 2024, I electronically transmitted the foregoing
 3   document to the Clerk’s Office using the CM/ECF System for filing and transmitted the
 4   foregoing document to Defendant Public Storage Operating Company via electronic mail
 5   to the following:
 6   Jason J. Jardine
     KNOBBE, MARTENS, OLSON & BEAR, LLP
 7   3579 Valley Centre Dr., Suite 300
 8   San Diego, CA 92130
     Telephone: 858-707- 4000
 9   jason.jardine@knobbe.com
10   Hans Mayer
     Brian Horne
11   KNOBBE, MARTENS, OLSON & BEAR, LLP
12   1925 Century Park East
     Los Angeles, CA 90067
13   Telephone: 310-551-3450
     hans.mayer@knobbe.com
14
     brian.horne@knobbe.com
15
     David B. Rosenbaum
16   Eric M. Fraser
17   Gloria D. Farrisi
     OSBORN MALEDON, P.A.
18   2929 North Central Avenue, Suite 2000
     Phoenix, Arizona 85012
19   (602) 640-9000
20   drosenbaum@omlaw.com
      efraser@omlaw.com
21   gfarrisi@omlaw.com
22
     Diana M. Torres
23   KIRKLAND & ELLIS LLP
     2049 Century Park East
24   Los Angeles, California 90067
25   (213) 680-8338
     diana.torres@kirkland.com
26
27   Dale M. Cendali
     KIRKLAND & ELLIS LLP
28   601 Lexington Avenue
                                               79
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 1   New York, New York
 2   (212) 446-4800
     dale.cendali@kirland.com
 3
     Attorneys for Defendant Public Storage
 4   Operating Company
 5
     /s/ John A. Cullis
 6   John A Cullis
 7
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